EXHIBIT A
               IN THE UNITED STATES DISTRICT COURT
                IN THE MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

                        CASE NO. 6:13-CV-921-CEM-GJK

HEATHER VENERUS, individually
and on behalf of all others similarly situated,

      Plaintiff,

AVIS BUDGET CAR RENTAL, LLC
and BUDGET RENT-A-CAR SYSTEM, INC.,

      Defendants.



                    CLASS ACTION SETTLEMENT AGREEMENT




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1. Proposed Preliminary Approval Order

2. Mailed Notice (i.e., Postcard Notice, including detachable Claim Form)

3. E-mail Notice

4. Claim Form

5. Electronic Claim Form

6. Longform Notice Form

7. Payment Option Form




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      This Class Action Settlement Agreement (“Agreement” or “Settlement

Agreement”) is made by and between Heather Venerus (“Plaintiff”), individually

and as representative of the Settlement Class defined below, and (2) Defendants

Avis Budget Car Rental, LLC and Budget Rent a Car System, Inc. (together, “Avis

Budget” or “Defendants”). Plaintiff and Defendants are referred to collectively as

“the Parties.”

      This Agreement effects a full and final settlement and dismissal with

prejudice of all Released Claims against all Released Persons (as those terms are

defined herein) relating to the above-captioned lawsuit (the “Action”) on the

terms and to the full extent set forth below, subject to the approval of the Court.

                                   RECITALS

      WHEREAS, on June 12, 2013, Heather Venerus filed a Class Action

Complaint against Defendants Avis Budget in the United States District Court

for the Middle District of Florida, Case No. 6:13-cv-921-CEM-GJK; and

      WHEREAS, on August 15, 2013, Heather Venerus filed an Amended

Complaint (Doc. 32); and

      WHEREAS, on September 17, 2013, Defendants filed a motion to dismiss

the various claims and/or allegations (Doc. 38), in response to which Plaintiff

filed a response in opposition (Doc. 45) and in support of which Defendants filed

a reply (Doc. 51); and

      WHEREAS, on August 18, 2014, this Court entered an Order (Doc. 66)

granting in part and denying in part the motion to dismiss, in that the Court



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    granted the motion to dismiss Counts I-II as it pertained to Defendant Budget

    Rent-A-Car System, Inc., granted the motion to dismiss Count III as it pertained

    to certain statutory provisions, granted the motion to dismiss Count IX in its

    entirety, and otherwise denied the motion ; and

          WHEREAS, on September 2, 2014, Defendants filed an Answer to the

    Amended Complaint to the extent not dismissed by this Court (Doc. 69); and

          WHEREAS, on October 8, 2014, Plaintiff filed a Renewed Motion for

    Class Certification concerning the remaining counts in the Amended Complaint

    (Doc. 80); and

          WHEREAS, on December 12, 2014, Defendants filed a memorandum in

    opposition to Plaintiff’s renewed motion for class certification (Doc. 93), in

    support of which Plaintiff filed a reply (Doc. 103); and

          WHEREAS, on September 25, 2015, this Court granted in part and denied

    in part the motion for class certification, denying the motion as it pertained to

    Plaintiff’s claims addressing the alleged failure to procure a $1 million

    supplemental liability insurance (SLI Policy) from ACE American Insurance

    Company (ACE), and granting the motion as it pertained to Plaintiff’s claims

    addressing the contractual self-insurance coverage (Doc. 149); 1 and

          WHEREAS, from August 28, 2015, through December 24, 2015, the

    Parties filed motions for summary judgment and briefs in opposition and



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  Moving forward, this Agreement refers to the former as “failure-to-procure claim” and to the
latter as “contractual self-insurance claim.”


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support thereof (Docs. 141-42, 164-65, 170-71), along with numerous other

filings and Daubert briefs; and

      WHEREAS, on January 13, 2016, Plaintiff filed an unopposed motion for

approval of a Notice plan related to the Order granting class certification (Doc.

176), which the Court granted on January 20, 2016 (Doc. 180); and

      WHEREAS, on February 18, 2016, Defendants filed a motion to bifurcate

for trial the class claims and Plaintiff’s individual claims (Doc. 188), which

Plaintiff opposed (Doc. 195); and

      WHEREAS, on March 29, 2016, this Court entered an order on the cross

motions for partial summary judgment (Doc. 203), granting only Defendants’

motion insofar as it related to the breach of supply agreement as third-party

beneficiary, and otherwise denying the Parties’ cross-motions entirely; and

      WHEREAS, on April 21, 2016, the Parties filed a Joint Pretrial Statement,

including proposed jury instructions, verdict forms, exhibit lists, deposition

designations, and witness lists (Docs. 226-27); and

      WHEREAS, on April 27, 2016, the Court denied the Motion to Bifurcate

but sua sponte redefined the certified class to only include class members who

rented pursuant to Defendants’ S8 tour rate code (Doc. 232); and

      WHEREAS, on May 11, 2016, Plaintiff moved for reconsideration of the

order amending the class definition (Doc. 233), and, on May 23, 2016, Plaintiff

moved for reconsideration of the Order denying Plaintiff’s partial motion for

summary judgment (Doc. 238); and



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      WHEREAS, on June 13, 2016, Defendants filed a response in opposition

to Plaintiff’s motion for reconsideration of the summary judgment order and a

cross-motion for reconsideration (Doc. 249), along with a response in

opposition to Plaintiff’s motion for reconsideration of the Order amending the

class definition, along with a cross-motion to decertify the class (Doc. 250), to

which Plaintiff filed respective responses (Docs. 253-54); and

      WHEREAS, on August 25, 2016, Defendants filed a second (Doc. 268)

and third (Doc. 269) motion to decertify the class—the latter of which

Defendants subsequently amended (Doc. 276)—to which Plaintiff responded

(Doc. 282); and

      WHEREAS, the Parties filed numerous trial and pre-trial filings related

to exhibits lists, deposition designations, jury instructions, witness lists, and

motions in limine (Docs. 283-301); and

      WHEREAS, on September 29, 2016, this Court entered an Order on the

various pending motions, granting summary judgment in Plaintiff’s favor on her

individual claim for breach of the contract to procure the ACE $1 million SLI

Policy (for which class certification had been denied), and granting summary

judgment in Avis Budget’s favor on the contractual self-insurance claims (for

which class certification had been granted) while decertifying the class (Doc.

302); and

      WHEREAS, on October 11, 2016, the Parties entered a joint stipulation

related to Plaintiff’s individual breach of contract damages (Doc. 307); and



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      WHEREAS, on October 12, 2016, this Court entered judgment in

Plaintiff’s favor and, based on a joint stipulation limited to her individual breach

of contract claim, awarded Plaintiff damages of $12.44 per day as a result of the

breach of contract for the failure to procure an ACE $1 million SLI Policy (Doc.

310); and

      WHEREAS, on February 21, 2017, Plaintiff filed her appellate brief seeking

reversal of this Court’s denial of class certification as it pertains to the failure to

procure claims, as well as this Court’s summary judgment in Defendants’ favor

on Plaintiff’s contractual self-insurance claims; and

      WHEREAS, on May 24, 2017, Avis Budget dismissed their cross-appeal of

this Court’s order granting summary judgment in Plaintiff’s favor on her

individual claim for breach of the failure to procure the ACE $1 million SLI Policy

claim; and

      WHEREAS, from May 24, 2017, through July 5, 2017, the Parties briefed

the remaining issues on appeal, namely the propriety of class certification for the

failure to procure claims and this Court’s order granting summary judgment in

Avis Budget’s favor on the contractual self-insurance claims; and

      WHEREAS, on December 6, 2017, the Parties engaged in oral argument in

Miami, Florida, in front of the Eleventh Circuit Court of Appeals; and

      WHEREAS, on February 1, 2018, the Eleventh Circuit Court of Appeals

entered an order and opinion reversing this Court’s denial of class certification

concerning Plaintiff’s failure to procure claim, and otherwise affirming this



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Court’s orders on class certification and summary and final judgment; and

      WHEREAS, on April 4, 2018, upon remand from the Eleventh Circuit

Court of Appeals, Plaintiff filed a renewed motion for class certification (Doc.

343), to which Defendants filed a brief in opposition (Doc. 348) and Plaintiff filed

a reply brief in support (Doc. 367); and

      WHEREAS, on May 24, 2018, Avis Budget filed a motion to dismiss for

lack of Article III standing, along with a motion for relief from judgment (Docs.

350-51), to which Plaintiff filed briefs in opposition (355-56) and Avis Budget

filed a reply brief in support (Doc. 366); and

      WHEREAS, on March 29, 2019, this Court entered an Order granting

Plaintiff’s motion for class certification, and denying Defendants’ motion to

dismiss for lack of Article III standing and for relief from judgment (Doc. 370);

and

      WHEREAS, on April 8, 2019, Avis Budget filed a motion to reconsider the

Court’s order denying the motion to dismiss for lack of Article III standing, or,

in the alternative, to certify the Order for interlocutory review (Doc. 372), which

Plaintiff opposed (Doc. 376); and

      WHEREAS, on April 12, 2019, Avis Budget filed a Fed. R. Civ. P. 23(f)

petition for interlocutory appeal, which, on April 22, 2019, Plaintiff opposed; and

      WHEREAS, on May 17, 2019, the Eleventh Circuit Court of Appeals denied

the Rule 23(f) petition for interlocutory appeal (Doc. 377); and

      WHEREAS, on June 20, 2019, this Court denied Defendants’ motion for



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reconsideration or, in the alternative, to certify for interlocutory review the

denial of Defendants’ motion to dismiss for lack of Article III standing (Doc.

379); and

      WHEREAS, from May 24, 2021, through July 2, 2021, the Parties filed

cross-motions and briefs related to summary judgment on liability and damages

for the class member claims (Docs. 415, 419, 429-30, 438, 441); and

      WHEREAS, from May 24, 2021, through June 25, 2021, the Parties filed

multiple Daubert-related briefs (Docs. 417, 420, 435-37); and

      WHEREAS, on July 28, 2021, this Court entered an Order resolving

numerous motions, including the cross-motions for summary judgment and the

Daubert-related briefing (Doc. 453); and

      WHEREAS, the Parties filed voluminous pre-trial and trial-related briefs,

filings, motions, designations, and proposals (Docs. 461-73); and

      WHEREAS, on August 30, 2021, the Parties filed omnibus motions in

limine (Docs. 483-84); and

      WHEREAS, the Parties engaged in numerous mediations conferences,

including, beginning in June 2021, a mediation under the guidance of mediator

Rodney Max, and, per this Court’s Order (Doc. 482), a settlement conference

under the guidance of Magistrate Judge Daniel Irick; and

       WHEREAS, the Plaintiffs and Class Counsel, while believing that the

claims asserted in the Action are meritorious, have considered the risks

associated with the continued prosecution of this complex and time-consuming



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 litigation, the risks associated with the forthcoming jury trial and subsequent

 potential appeal on either the merits, class certification, or both, the relief

 secured in this Agreement, as well as the likelihood of success at the trial and/or

 appeal of this Action, and believe that, in consideration of all the circumstances,

 the Proposed Settlement embodied in this Agreement is fair, reasonable,

 adequate, and in the best interests of the Settlement Class Members; and

       WHEREAS, Avis Budget, while denying wrongdoing of any kind and

 without admitting liability, nevertheless agrees to enter into this Agreement to

 avoid further burden, expense and risk of protracted litigation and to effect a full

 and final settlement of the claims asserted in this Action on the terms set forth

 below;

       NOW, THEREFORE, IT IS HEREBY AGREED by and among the Parties,

 through their respective counsel, that the Action be settled and compromised by

 the Plaintiff, the Settlement Class, and Avis Budget on the following terms and

 conditions, subject to the approval of the Court:

I.    DEFINITIONS

       For purposes of this Settlement Agreement, the following terms shall be

 defined as set forth below:

          a.    “Administrative Costs” or “Administration Costs” means the fees
                and costs incurred by the Settlement Administrator to implement
                and effectuate this Settlement, including, but not limited to, costs
                associated with effectuating and implementing notice to
                Settlement Class Members, responding to inquiries and other
                correspondence related to the Settlement, analyzing and paying
                valid claims, claims handling, postage, website maintenance, costs


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     to email, and all other administrative costs necessary to comport
     with this Agreement.

b.   “Attorneys’ Fee Award” means the Court-determined award of
     attorneys’ fees, costs, and expenses to Class Counsel.
c.    “Blank Claim Form” shall mean a claim form, electronic or paper,
     that is not pre-filled with the Settlement Class Member name,
     date of loss, or Claim ID.
d.   “Confidential Information” means all data and/or discovery
     and/or documents provided by Avis Budget relating to
     Settlement Class Members and any other proprietary business
     information of Avis Budget.

e.   “Claim Form” means the Court-approved paper (not electronic)
     claim form, without material alteration from Exhibit 4, that a
     Settlement Class Member may submit to be considered for
     payment under the Final Settlement.

f.   “Claim Payment” or “Claims Payments” means the payment issued
     by Avis Budget to Settlement Class Members who submit valid and
     timely claims, as set forth in Paragraphs 25-30.

g.   “Claims Submission Deadline” means the date by which Claim
     Forms must be postmarked or Electronic Claim Forms must be
     electronically submitted to be considered timely, which shall be
     150 days after the Notice Date.

h.   “Class Counsel” means the attorneys approved and appointed by
     the Court to represent the Settlement Class Members.
i.   “Class Period” means the period from June 12, 2008, through
     December 31, 2015.
j.   “Court” means the United States District Court for the Middle
     District of Florida.

k.   “E-mail Notice” means the Court-approved notice form, without
     material alteration from Exhibit 3, e-mailed to potential
     Settlement Class Members, as provided in Paragraphs 7-10.

l.   “Effective Date” means the date that is five (5) days after the last
     of the following events have occurred:



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     (1) This Agreement has been fully executed by the Parties and/or
         their counsel;
     (2) No Party has terminated the Agreement;
     (3) Orders have been entered by the Court certifying a Settlement
         Class, granting preliminary approval of this Agreement, and
         approving a form of notice and claim forms as provided in this
         Agreement;
     (4) The Court has entered without material change the Final
         Order and Judgment approving this Agreement and releasing
         all Released Persons from all Released Claims (as those terms
         are defined herein), and dismissing the Action with prejudice
         and without leave to amend, as provided in this Agreement;
     (5) The Court has fully resolved any application made by Class
         Counsel for an Attorneys’ Fees and Costs Award; and
     (6) The Final Order and Judgment has become Final as defined
         in Paragraph (p) below.

m.   “Electronic Claim Form” means the Court-approved electronic
     (not paper) claim form, without material alteration from Exhibit
     5 except those alterations necessary to convert to electronic
     format with the functionality described in Paragraphs 31-37, that
     a Settlement Class Member may submit electronically to be
     considered for payment under the Final Settlement.

n.   “Eligible Class Member” means a Settlement Class Member who
     timely submits a Claim Form or Electronic Claim Form in
     accordance with Paragraphs 31-37 and satisfies the eligibility
     criteria stated in Paragraph I(gg).
o.   “Fairness Hearing” means the fairness hearing conducted by the
     Court to consider final approval of this Agreement.

p.   “Final” means that (a) the Final Order and Judgment is a final,
     appealable judgment and (b) either (i) the time for seeking
     rehearing or appellate or other review has expired and no appeal
     or petition for rehearing or review has been timely filed from the
     Final Order and Judgment as of the date on which all times to
     appeal therefrom have expired, or (ii) an appeal or other review
     proceeding of the Final Order and Judgment having been
     commenced, the Settlement is affirmed on appeal or review
     without material change or such appeal or other review is finally
     concluded and no longer is subject to review by any court,
     whether by appeal, petitions for rehearing or reargument,


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     petitions for rehearing en banc, petitions for writ of certiorari, or
     otherwise, and such appeal or other review has been fully and
     finally resolved in such manner that affirms the Final Order and
     Judgment, and no other appeal or petition for rehearing or review
     is pending, and the time period during which further petition for
     hearing, review, appeal or certiorari could be taken has finally
     expired and relief from a failure to file same is not available.

q.   “Final Order and Judgment” means an order from the Court
     approving the Settlement Agreement, disposing of all claims
     asserted in the Action, and settling and releasing all claims
     consistent with the terms of this Agreement.

r.   “Final Settlement” means the settlement approved by the Court
     in the Final Order and Judgment as fair, reasonable, and
     adequate.

s.   “Service Award” means the potential award to the Plaintiff, if any,
     as determined by the Court.

t.   “Longform Notice” means Notice without material change from
     Exhibit 6.

u.   “Mail Notice” means the Court-approved short form notice (i.e.,
     postcard notice), without material alteration from Exhibit 2,
     mailed via first-class mail to potential Settlement Class Members.

v.   “Notice Date,” “Email Notice Date” or “Mail Notice Date” mean
     the date of the initial emailing of the Email Notice and mailing of
     the Mailed Notice to potential Settlement Class Members.

w.   “Notice Plan” means the plan for effectuating and implementing
     class notice set forth herein in Paragraphs 4-19.

x.   “Opt-Out List” means the list of valid and timely requests for
     exclusion received after the previous Notices of certification of the
     Class and compiled by the Settlement Administrator.

y.   “Person” means any natural person, individual, corporation,
     association, partnership, trust, or any other type of legal entity.


z.   “Proposed Preliminary Approval Order” means the proposed


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      order attached hereto as Exhibit 1.

aa.   “Proposed Settlement” means the settlement described in this
      Agreement, before final approval by the Court.

bb.   “Release” shall have the meaning given such term in Paragraph
      56.

cc.   “Released Claims” means and includes any and all known and
      unknown, existing or potential, suspected or unsuspected,
      liquidated or unliquidated, legal or statutory or equitable, claims,
      liabilities, rights, actions, suits, demands, or causes of action of
      whatever kind or nature, whether ex contractu or ex delicto,
      statutory, common law or equitable, including but not limited to
      breach of contract, bad faith or extracontractual claims, and
      claims for punitive or exemplary or other damages, or
      prejudgment or postjudgment interest, or attorneys’ fees, or
      costs, or losses, or remedies, arising from or out of or relating to
      the prepaid tour voucher rental contracts and otherwise arising
      out, based upon, or relating to the Action or the conduct,
      omissions, duties, or matters at any time from the beginning of
      the Class Period through the end of the Class Period that were or
      could have been claimed, raised, brought, or alleged in this
      Action.

dd.   “Releasing Persons” means: (a) Plaintiff; and (b) Settlement Class
      Members, and their respective present, former or subsequent
      assigns, heirs, successors, predecessors, parents, subsidiaries,
      officers, directors, shareholders, members, managers, partners,
      principals, representatives, agents, attorneys, employees,
      insurers, and anyone working on their behalf.

ee.   “Released Persons” means (a) Avis Budget; (b) all past and
      present divisions, parent entities, affiliates, control persons, and
      subsidiaries of Avis Budget; (c) all past and present officers,
      directors, agents, attorneys, employees, servants, licensees, third
      party car rental brokers or suppliers, stockholders or
      shareholders, partners, joint venturers, successors, assigns,
      independent contractors, service providers, insurers and
      reinsurers, advisors, consultants, representatives; and (d) all of
      the predecessors, heirs, estates, successors, assigns, and legal
      representatives of any of the entities or Persons listed in this
      Paragraph.


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        ff.   “Settlement Administrator” means Angeion Group (“Angeion”).

        gg.   “Settlement Class” is defined, for settlement purposes only, as set
              forth in the Court’s Order granting class certification (Doc. 370),
              as amended pursuant to the parties’ Joint Notice to Amend the
              Class Definition (Doc. 397):

              All individuals who (1) rented an Avis or Budget vehicle in the
              State of Florida after June 12, 2008 and before January 1, 2016,
              pursuant to a prepaid voucher, and (2) whose Rental Receipt
              contained the notation “SLI .00/Day Accepted” or “ALI .00/Day
              Accepted.

              Excluded from the Class are all such renters who have been
              involved in accidents and who have outstanding claims for
              liability or uninsured/underinsured motorist coverage, as well as
              all such renters whose liability or uninsured/underinsured
              motorist claims have been paid by Defendants.

              Also excluded from the Settlement Class are (1) the trial judge
              presiding over this case; (2) Defendants, as well as any parent,
              subsidiary, affiliate, or control person of Defendants, and the
              officers, directors, agents, servants or employees of Defendants;
              (3) any of the Released Persons; (4) the immediate family of any
              such person(s); (5) any Settlement Class Member who has timely
              opted out of or requested exclusion from the Settlement after
              either of the previous Notices and opportunity to opt out were
              provided; and (6) Class Counsel, their employees and agents, and
              their immediately family.

        hh.   “Settlement Class Member” means any Person encompassed by
              the definition of the Settlement Class and not excluded from the
              Class as provided in the Opt-Out List.

        ii.   “Valid Claim” means, among other things, a Claim Form that
              (1) includes the name of a renter that matches Avis Budget’s
              database of prepaid tour voucher renters during the class period
              and other identifying information as requested in the Claim Form
              instructions; and (2) is not fraudulent.

II.   PRELIMINARY APPROVAL OF THE SETTLEMENT



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1.   Solely for the purposes of implementing this Agreement and
     effectuating the Proposed Settlement, the Parties stipulate that
     Angeion shall be the Settlement Administrator.

2.   Promptly after execution of this Agreement, the Plaintiff shall
     submit this fully executed Agreement to the Court, and request
     entry of the Proposed Preliminary Approval Order, without
     material alteration from Exhibit 1, that specifically:

     (a)   preliminarily approves this Agreement;

     (b)   finds that the Court possesses jurisdiction over the subject
           matter of this Action and over all Parties to this Action,
           including the Named Plaintiff and all Settlement Class
           Members;

     (c)   finds that the Proposed Settlement is sufficiently fair,
           reasonable, and adequate to warrant providing Notice to
           the Settlement Class;

     (d)   finds that the Class Action Fairness Act Notice to be made
           by the Settlement Administrator on behalf of Avis Budget
           as set forth in Paragraph 30 is in full compliance with 28
           U.S.C. § 1715(b);

     (e)   approves the Notice Plan;

     (f)   approves the Claim Form and Electronic Claim Form to be
           distributed to and/or used by Settlement Class Members,
           and sets a Mail Notice Date and a Claims Submission
           Deadline by which the Claim Forms and Electronic Claim
           Forms must be submitted in order to be deemed timely;

     (g)   approves the settlement website as described in Paragraphs
           10-12, which may be amended during the course of the
           settlement as appropriate and agreed to by the Parties, and
           which shall be maintained for at least 180 days after the
           Claims Submission Deadline;

     (h)   appoints Angeion as the Settlement Administrator;

     (i)   directs the Settlement Administrator to maintain a toll-free
           IVR telephone system containing recorded answers to


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      frequently asked questions;
(j)   determines that the Notice provided to potential
      Settlement Class Members (i) is the best practicable notice
      under the circumstances; (ii) is reasonably calculated,
      under the circumstances, to apprise Settlement Class
      Members of the pendency of the Action and their right to
      object to the Proposed Settlement; and (iii) constitutes due,
      adequate, and sufficient notice to all Persons entitled to
      receive notice;

(k)   schedules the Fairness Hearing to consider the fairness,
      reasonableness, and adequacy of the Proposed Settlement
      and whether it should be finally approved by the Court on a
      date not sooner than 150 days after entry of the Preliminary
      Approval Order;

(l)   requires the Settlement Administrator to file proof of
      completion of Notice at least ten (10) days prior to the
      Fairness Hearing, along with the Opt-Out List, which shall
      be a list of all Persons who timely and properly requested
      exclusion after receiving notice previously provided in this
      litigation following the certification Orders, and an
      affidavit attesting to the accuracy of the Opt-Out List;

(m)   orders that Settlement Class Members will be bound by all
      proceedings, orders, and judgments in the Action, even if
      such Settlement Class Member never received actual notice
      of the Action or this Proposed Settlement;

(n)   requires any Settlement Class Member who wishes to
      object to the fairness, reasonableness, or adequacy of this
      Agreement or any term of the Proposed Settlement, or to
      intervene in the Action, to follow the procedures set forth
      in Paragraphs 45-52 of this Agreement, including those
      requirements applicable to any attorney representing the
      Settlement Class Member;

(o)   directs the Settlement Administrator to rent a post office
      box to which objections, notices of intention to appear, and
      any other settlement-related communication may be sent,
      and provides that only the Settlement Administrator, the
      Court, the Clerk of the Court, and their designated agents
      shall have access to this post office box, except as otherwise


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                    expressly provided in this Agreement;

              (p)   directs the Settlement Administrator to promptly provide
                    copies of all objections, motions to intervene, notices of
                    intention to appear, and other communications that come
                    into its possession to Class Counsel and Avis Budget’s
                    counsel;

              (q)   stays all proceedings in the Action until further order of the
                    Court, except that the Parties may conduct proceedings
                    necessary to implement the Proposed Settlement or
                    effectuate the terms of this Agreement; and

              (r)   implements or orders any other provisions or directives or
                    procedures not contemplated by the Parties, if necessary to
                    comply with governing law and/or binding precedent and
                    if such provisions do not materially alter the substantive
                    terms of this Agreement.
         3.   In the event that the Proposed Settlement is not consummated
              for any reason (including but not limited to reversal on appeal),
              (a) the Parties and their attorneys shall proceed as though the
              Agreement had never been entered and the Parties and their
              Counsel shall not cite nor reference this Agreement (or
              negotiations relating to this Agreement), (b) nothing in this
              Agreement and/or the fact that it was entered into and/or
              negotiations relating to this Agreement shall be offered, received
              or construed as an admission or as evidence for any purpose in
              any proceeding, including certification of a class and availability
              or applicability of prejudgment interest to the Settlement Class
              Members’ Claims should the claims proceed to judgment, and (c)
              to restore each of the Parties respective position existing
              immediately before the date on which the Parties filed the Notice
              of Settlement.

III.   CLASS NOTICE

         4.   Avis Budget will pay the Administrative Costs in an amount not
              to exceed $400,000.00. To the extent the Administrative Costs
              exceed $400,000.00, the excess amount will be deducted from
              the Attorneys’ Fee Award. The $400,000.00 in Administrative
              Costs are separate from, and not included within, the lawsuit
              costs and expenses Avis Budget has agreed to pay, if ordered by



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     the Court, as part of Plaintiff’s Attorneys’ Fees and Costs Award.

5.   Sixty (60) days after entry of the Preliminary Approval Order,
     Angeion shall initiate e-mailing of the E-Mail Notice for each claim
     for whom Avis Budget possesses an e-mail address and mailing
     by regular mail of the Mail Notice to each potential Settlement
     Class Member for whom Avis Budget possesses a mailing address
     but not an e-mail address. The Email Notice and Mail Notice will
     contain a ClaimantID and will link to or direct the Settlement
     Class Member to a website at which the Settlement Class Member
     can access a Claim Form by entering their ClaimantID. If the
     Settlement Class Member enters their Claimant ID, the Claim
     Form will be pre-filled with the Class Member’s name, Claimant
     ID, and date(s) of rental(s). Prior to mailing or emailing notice,
     the Settlement Administrator shall provide the list of Settlement
     Class Members to Plaintiff and Defendants to confirm accuracy.

6.   The Mail Notice and Claim Form shall be in substantially the
     same form as Exhibits 2 and 4. Claim Forms provided with the
     mailed Notice will be pre-filled with a unique Claimant ID, the
     Settlement Class Member Name, and the date(s) of rental(s) as
     set forth in Exhibit 4. Avis Budget will provide data to the
     Settlement Administrator to be used to enable Claim Forms and
     Electronic Claim Forms to be pre-filled with the Class Member
     Name and date(s) of rental(s).

7.   For each Settlement Class Member for whom Avis Budget
     provides an associated e-mail address, the Settlement
     Administrator shall send E-Mail Notice with a hyperlink to the
     website, which provides access to a “Make A Claim” button
     permitting a Class Member to access a pre-filled Electronic Claim
     Form. The E-Mail Notice shall be in substantially the same form
     as Exhibit 3.

8.   If any e-mail is rejected, returned as undelivered, or the
     Settlement Administrator otherwise receives notice of a failure to
     transmit, the Settlement Administrator will apply its discretion to
     adjust wherever possible the settings or functionality, so as to
     increase the likelihood that a subsequent e-mail will successfully
     transmit. If a subsequent request is also rejected, returned as
     undelivered, or the Settlement Administrator otherwise receives
     notice of a failure to transmit, and if Avis Budget has a physical
     address associated with the Class Member (or the Class Member,



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      after previous Notices, has provided a physical address), the
      Settlement Administrator will send a Mail Notice as set forth
      above.

9.    The Settlement Administrator shall utilize best practices designed
      to avoid spam filters, blockers, or any tool designed to prevent
      receipt of e-mails, and to otherwise design and implement the
      sending of the e-mail to increase the chance that the E-Mail
      Notice will be successfully received into the inbox of Settlement
      Class Members.

10.   The Settlement Administrator shall continue to maintain the
      website VenerusCarRentalInsurance.com and post the Settlement
      Agreement, Notice, Longform Notice, Electronic Claim Form,
      Preliminary Approval Order, Summary Judgment Order, and
      frequently asked questions. The website may be amended from
      time to time as agreed to by the Parties. The Settlement
      Administrator shall maintain the website for at least 180 days after
      expiration of the Claims Submission Deadline.

11.   The home page of the website shall reflect the case settlement and
      shall have a “Make A Claim” button permitting a Class Member to
      access a pre-filled Electronic Claim Form by providing a Claimant
      ID, with a method to submit the Electronic Claim Form with an
      electronic signature, and a method to access a Blank Claim Form.

12.   The website shall provide that a Settlement Class Member may
      submit a Claim Form without a Claimant ID by completing a Blank
      Claim Form by entering the Settlement Class Member name,
      address, and year of rental and by signing and submitting the
      Electronic Blank Claim Form electronically. The Settlement
      Administrator shall then cross reference the data provided by Avis
      Budget and if there is a rental that matches the Settlement Class
      Member’s name and year of rental, the Claim Form shall be
      considered valid (assuming it complies with all other
      requirements, such as timeliness).

13.   If any Notice mailed to a Settlement Class Member is returned to
      the Settlement Administrator as undeliverable, the Settlement
      Administrator will promptly log each Notice that is returned as
      undeliverable and provide copies of the log to Avis Budget and
      Class Counsel upon request. If the mailing is returned to the
      Settlement Administrator with a forwarding address, the



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      Settlement Administrator shall forward the mailing to that
      address. For the remaining returned mailings, the Settlement
      Administrator will use reasonable efforts to attempt to obtain a
      new address and those mailings shall be forwarded to any new
      address obtained through such a search. If any Notice is returned
      as undeliverable a second time, no further mailing shall be
      required. It is agreed by the Parties that the procedures set forth
      in the preceding Paragraphs and this Paragraph constitute
      reasonable and the best practicable notice under the
      circumstances and an appropriate and sufficient effort to locate
      current addresses for Settlement Class Members such that no
      additional efforts to do so shall be required.

14.   The Parties agree that the Longform Notice, without material
      alteration from Exhibit 6, shall be posted to the website as set
      forth below, and will be available upon request to Settlement
      Class Members.

15.   The Notice and Claim Form will also be made available to all
      potential Settlement Class Members by request to the Settlement
      Administrator, who shall send via e-mail any of these documents
      as requested by any potential Settlement Class Member. If a
      Claimant ID is not available to the Settlement Administrator for
      the potential Settlement Class Member, the Settlement
      Administrator shall provide a Blank Claim Form to the requester
      with instruction that the Blank Claim Form must be mailed to the
      Settlement Administrator postmarked by the Claims Submission
      Deadline with the Settlement Class Member name, address, and
      year of rental(s).
16.   The Settlement Administrator shall maintain a toll-free IVR
      telephone system containing recorded answers to frequently
      asked questions. The IVR system will provide contact info for
      Class Counsel in the event the caller wishes to speak to a liver
      person. The recorded answers to frequently asked questions are
      to be agreed to by the Parties.
17.   The Settlement Administrator shall rent a post office box to be
      used for receiving objections, notices of intention to appear, and
      any other settlement-related communications. Only the
      Settlement Administrator, the Court, the Clerk of the Court, and
      their designated agents shall have access to this post office box,
      except as otherwise expressly provided in this Agreement.



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        18.   The Settlement Administrator shall implement a targeted social
              media/internet campaign with the goal of ensuring due process is
              satisfied pertaining to receipt of actual notice by a percentage of
              Settlement Class Members. The Parties agree that, given the
              distribution of Class Members, the social media/internet
              campaign should target Class Members residing in the United
              Kingdom. The campaign will include links leading to the
              Settlement Website, which will include all the documents and
              information as set forth herein.
        19.   Due to the General Data Protection Regulation (GDPR) and any
              other applicable privacy laws, the Settlement Administrator shall
              not send notice to any Settlement Class Member who has
              previously requested Avis Budget to expunge all of his or her
              information in Avis Budget’s possession.

IV.   SETTLEMENT ADMINISTRATOR

        20.   The Parties agree to the appointment of Angeion as Settlement
              Administrator to perform the administrative services described
              herein. Avis Budget shall be responsible for the payment of the
              Administrative Costs as described herein. The Administrative
              Costs are separate from, and are not included as, part of the
              Attorneys’ Fees and Costs Award that Avis Budget separately
              agrees to pay as set forth in Paragraphs 39-43 below if approved
              by the Court, except that if the Administrative Costs exceed
              $400,000.00, the excess amount shall be deducted from the
              Attorneys’ Fees and Costs Award.

        21.   The Settlement Administrator shall assist with the various
              administrative tasks set forth herein and any others necessary to
              implement the terms of this Agreement and the Proposed
              Settlement as preliminarily approved, including (i) mailing and e-
              mailing or arranging for the mailing and e-mailing, respectively, of
              the Mail and E-Mail Notice described above and submitting to the
              Parties and Court an affidavit offering proof thereof; (ii) handling
              mail returned as not delivered and making additional mailings
              required under the terms of the Agreement; (iii) responding, as
              necessary, to inquiries from Settlement Class Members; (iv)
              providing to the Parties, within five (5) business days of receipt,
              copies of all objections, motions to intervene, notices of intention
              to appear, and other communications from Settlement Class
              Members; (v) preparing a list of all Persons who timely requested


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              exclusion after the previous Notices were provided and submitting
              to the Court the Opt-Out List and supporting affidavit ten (10) days
              before the Fairness Hearing scheduled by the Court; (vi) preparing
              a list of all Persons who submitted objections to the settlement and
              submitting an affidavit testifying to the accuracy of that list; (vii)
              preparing a list of all Persons who make a timely claim; (viii)
              implementing procedures for processing and handling Claims
              submissions; (ix) making or sending out Claim Payments to
              Settlement Class Members in the form requested by the Settlement
              Class Members; and (x) promptly responding to requests for
              information and documents from Class Counsel, Avis Budget,
              and/or Avis Budget’s Counsel.

        22.   The Parties agree to jointly submit all data to the Settlement
              Administrator that is necessary for the Settlement Administrator
              to complete the administrative tasks set forth herein or otherwise
              necessary to implement the terns of this Agreement and the
              Proposed Settlement as preliminarily approved. Because the data
              to be transmitted to the Settlement Administrator includes
              Personal Identifiable Information (PII), the Parties agree that the
              Settlement Administrator will only use the data for the purposes
              of administering this Agreement, will retain the minimum amount
              of data for the minimum amount of time necessary to administer
              the Agreement, will not disseminate the data other than as
              necessary to implement this Agreement, and will maintain all
              appropriate security measures to protect the data.

        23.   As set forth herein, the Settlement Administrator shall set up,
              coordinate, maintain and/or implement (a) the post office box; (b)
              the website; and (c) the toll-free IVR number.

V.    CLASS ACTION FAIRNESS ACT NOTICE

        24.   Pursuant to 28 U.S.C. § 1715(b), within 10 days after this
              Agreement is filed with the Court, the Settlement Administrator,
              on behalf of Avis Budget, will give notice to the Attorney General
              of the United States and the Attorney General of the State of
              Florida (and any other required state), serving on them the
              documents described in 28 U.S.C. § 1715(b)(1) through (8), as
              applicable.

VI.   CLAIMS PAYMENTS


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                                                                      EXHIBIT A
25.   In exchange for the mutual promises and covenants in this
      Agreement, and following the Effective Date, Avis Budget agrees
      to make a total of up to $33,956,613.00 (the “Total Settlement
      Amount”) available for settlement of all Valid Claims in this
      claims-made settlement, Administration Costs (including the
      costs of implementing and effectuating class Notice and Claim
      Payments), attorneys’ fees and attorney’s costs/expenses of
      litigation, any Service Award to the Plaintiff, all as explicitly set
      forth herein and subject to court approval. In no event shall Avis
      Budget be obligated to pay more than the Total Settlement
      Amount.

26.   All Claim Payments shall be funded by Avis Budget and made or
      sent by the Settlement Administrator on Avis Budget’s behalf to
      eligible Settlement Class Members. To be eligible for a Claim
      Payment under this settlement, a Settlement Class Member must
      timely submit a Claim Form and must not have submitted a
      request for exclusion after any of the Notices provided during this
      litigation. Avis Budget shall not be obligated to fund, and the
      Settlement Administrator shall not make, any Claim Payments
      until after the Effective Date.

27.   The Claim Payment paid to eligible class members who submit
      timely and Valid Claims will be for $6.51 per rental day during the
      relevant time-period, plus applicable prejudgment interest. If
      there are any unclaimed funds after the Claim Submission
      Deadline, the Claim Payment paid to eligible class members who
      submit timely and Valid Claims will be increased from $6.51 per
      rental day to up to $7.46 per rental day, plus applicable
      prejudgment interest. If the Valid Claims, Administrative Costs,
      Attorneys’ Fees and Costs Award and Service Award exceed the
      Total Settlement Amount, the amount owed and/or paid to
      Settlement Class Members will be reduced on a pro rata basis.
      Eligible class members are Settlement Class Members that submit
      timely and Valid Claims and that are not excluded from the
      Settlement Class as provided in the Opt-Out List.

28.   Avis Budget does not concede that prejudgment interest is
      recoverable in this case, but for settlement purposes only,
      prejudgment interest will be calculated under Florida law. It is
      agreed that prejudgment interest will no longer accrue after
      December 17, 2021, the date of the Joint Notice of Settlement (Doc.



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               504).

         29.   The Settlement Administrator shall establish procedures for
               receiving and processing Claim Forms and Blank Claim Forms.
               Claim Forms that do not meet the requirements set forth in this
               Agreement and in the Claim Form Instructions shall be rejected.
               The Settlement Administrator may reject a Claim Form, if not
               timely cured, for, among other reasons, the following reasons: (1)
               failure to fully complete and/or sign the Claim Form; (2) the claim
               form is illegible; (3) the name or information on the Claim Form
               does not match Avis Budget’s database of tour renters during the
               Class Period; (4) the Claim Form is fraudulent; (5) the Claim Form
               is duplicative of another Claim Form (but the prior Claim Form
               will be considered valid, assuming it meets other requirements);
               (6) failure to submit a claim form by the Claims Submission
               Deadline; and/or (7) the Claim Form otherwise does not meet the
               requirements of this Agreement. Defendants shall have the right
               to audit claims payments, i.e., to review the payments to be made
               to Settlement Class Members who submit a claim.

         30.   The Claim Payment described herein is the only payment to
               which Settlement Class Members, other than Plaintiff, are
               entitled under this Agreement. The payments shall be in full and
               final disposition of the Action, and in consideration for the release
               of any and all Released Claims as against any and all Released
               Persons.

VII.   CLAIM SUBMISSIONS

         31.   The Claim Form shall be without material alteration from Exhibit
               4, and the Electronic Claim Form shall be without material
               alteration from Exhibit 5 except for changes necessary for
               conversion to electronic format.

         32.   A Claim Form submitted for a Settlement Class Member who has
               more than one claim (i.e., more than one rental during the Class
               Period) shall apply to all claims of the Settlement Class Member.
               However, if the Settlement Class Member fills out a Blank Claim
               Form and only lists one year of rental, the Claim shall only apply
               to multiple rentals if all such rentals occurred during the year
               listed on the Blank Claim Form.

         33.   To be considered for payment, a Claim Form must be postmarked


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            no later than the Claims Submission Deadline or must be
            submitted electronically no later than the Claims Submission
            Deadline, at which point the Settlement Administrator shall
            deactivate the Electronic Claim Form.

      34.   If not pre-populated as set forth above, a Settlement Class
            Member must include in a Blank Claim Form (i) the name and
            current address of the Settlement Class Member and either (ii)
            the year in which the rental began or (iii) the rental claim number
            listed on the rental receipt.

      35.   The Claim Form, Blank Claim Form, and Electronic Claim Form
            must contain a signature, or in the case of an Electronic Claim
            Form, an electronic signature, certifying the claim to the best of
            the Settlement Class Member’s knowledge.

      36.   After submission of an Electronic Claim Form, the Settlement
            Class Member shall be provided a Payment Option Form, an
            example of which is attached as Exhibit 7. The Payment Option
            Form shall ask the Class Member to choose between receiving a
            Claim Payment, if the Claim is a Valid Claim, in the form of (i) an
            electronic prepaid card via email (and, if so, to confirm/enter an
            email address), (ii) the mailing of a physical check (and, if so, to
            confirm/enter a physical mailing address), or (iii) electronic
            payment (and, if so, to contact the Settlement Administrator at a
            listed email address to provide necessary information in a secure
            format, including account information).

      37.   If a Class Member does not submit a Payment Option Form
            and/or if the Class Member mails a physical Claim Form rather
            than submitting an Electronic Claim Form, the payment will be
            in the form of a physical check mailed to the address on the Claim
            Form (whether it was pre-filled or filled in on a Blank Claim Form
            by the Settlement Class Member).


VIII. CLAIMS ADMINISTRATION

      38.   Claim Forms that are timely submitted shall be processed as
            follows:

            (a)   If a Claim Form is unsigned, illegible, or if the Settlement
                  Class Member’s name does not match Avis Budget’s


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      database of prepaid tour voucher rentals or, in the case of a
      Blank Claim Form filled out by the Settlement Class
      Member, does not contain a year of rental, the Settlement
      Administrator shall send the claimant an email or letter,
      with a copy to Avis Budget and Class Counsel, informing
      him or her of the defect and providing the claimant with
      thirty (30) days in which to cure the defect. If the claimant
      does not subsequently provide a Claim Form curing the
      defect and postmarked/submitted within thirty (30) days
      of the date of the Settlement Administrator’s letter or
      email, that Claim Form shall be deemed defective and not
      eligible for payment, and the claimant shall not have an
      additional opportunity to cure the defect.

(b)   Within sixty (60) days after the later of the Claims
      Submission Deadline or the Final Order and Judgment,
      Avis Budget shall:

        (1) inform Class Counsel and the Settlement
            Administrator of any claims (other than claims
            determined by the Settlement Administrator to be
            defective and which were not timely cured) it believes
            are invalid and a brief description as to why Avis
            Budget believes the claim to be invalid; and

        (2) For those claims that Avis Budget does not challenge
            as invalid, Avis Budget shall provide the Settlement
            Administrator and Class Counsel the amount of
            payment, including applicable interest, for each
            claim. Class Counsel will have ten days from the
            provision of the Claim Payment amount to dispute
            the amount of Claim Payment. Avis Budget and
            Class Counsel shall cooperate to resolve any dispute
            as to Claim Payment within ten days.

(c)   Within ninety (90) days after the later of the Claims
      Submission Deadline or the Effective Date, Avis Budget
      shall fund and the Settlement Administrator shall make
      Claim Payments in the form requested by the Settlement
      Class Member, or, if no Payment Form is submitted, by
      mailing a check for the full amount of Claim Payment, to all
      Settlement Class Members whose submitted claims were
      not challenged as invalid, and for which Class Counsel did



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      not dispute the amount of Claim Payment. If the payment
      is in the form of a check or gift card, the check or gift card
      shall be valid for 180 days after the date of payment.

(d)   Any checks that are not deposited and cleared within one
      hundred eighty (180) days shall be null and void and the
      Settlement Class Member will become ineligible to receive a
      Settlement Award. Avis Budget shall have no further
      obligation to make any payment pursuant to this Agreement
      or otherwise to such Settlement Class Members. All unpaid
      funds from uncleared checks shall be retained by Avis
      Budget and Avis Budget shall have no further obligation
      after the distribution back to pay any further amounts.

(e)   If any Claim Payment mailed to any potential Settlement
      Class Member is returned as undeliverable, the Settlement
      Administrator will promptly log each Notice and/or Claim
      Form that is returned as undeliverable and provide copies
      of the log to Avis Budget. The Settlement Administrator
      shall attempt to identify an updated address and shall
      provide Avis Budget with any updated address. If there is
      an updated address, the Settlement Administrator shall
      resend the Claim Payment to that address. If the Claim
      Payment mailing is returned with a forwarding address, the
      Settlement Administrator shall forward the Claim Payment
      mailing to that address. In such instances, the 180 day time
      limit shall begin running on the date of the re-mailing.

(f)   Within thirty (30) days after resolution of Class Counsel’s
      disputes of the amount of Claim Payments as provided in
      Paragraph _____, the Settlement Administrator shall
      make the Claim Payment as identified in the previous three
      subparagraphs for the resolved full amount of Claim
      Payment to all Settlement Class Members on whose claims
      Class Counsel disputed the amount of Claim Payment.

(g)   Within thirty (30) days of receiving Avis Budget’s
      determinations in Paragraph ______, the Settlement
      Administrator shall mail an Explanation Letter or Email to
      all Settlement Class Members who submitted claims
      challenged by Avis Budget as invalid an explanation of why
      Avis Budget deemed the claim to be invalid. The
      explanation will include the process by which the defect



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      may be cured and inform the Settlement Class Member
      that it may re-submit a Claim Form to correct the
      deficiency, or, if Avis Budget determined in its opinion that
      the defect is not curable, will inform the Settlement Class
      Member that they may contest the determination by
      submitting a written explanation as to why Avis Budget’s
      determination was incorrect. The mailing contesting Avis
      Budget’s determination must be postmarked/submitted no
      later than thirty (30) days after the Explanation
      Letter/Email to be deemed timely.

(h)   Within thirty (30) days of receiving any re-submissions or
      contestations from Settlement Class Members as set forth
      in Subparagraph (f), and if Avis Budget maintains that the
      submitted or re-submitted claim is invalid, the claim will
      be submitted to a Neutral Evaluator agreed to by the
      Parties. The decision by the Neutral Evaluator shall be
      binding on Avis Budget and any Settlement Class Member.
      The Neutral Evaluator shall provide an explanation of any
      decision to Avis Budget and Class Counsel. Within ten (10)
      days of the Neutral Evaluator’s determination, Avis Budget
      will fund and the Settlement Administrator will make a
      payment to any Settlement Class Members determined by
      the Neutral Evaluator to have submitted or re-submitted a
      Valid Claim in the manner requested by the Settlement
      Class Member, and the Settlement Administrator shall
      mail or e-mail an explanation to any Settlement Class
      Member the Neutral Evaluator determined submitted an
      invalid claim.

(i)   The Neutral Evaluator shall be a licensed attorney in the
      State of Florida. All costs for the expense of the Neutral
      Evaluator shall be borne exclusively by Avis Budget. If the
      Parties cannot agree upon the Neutral Evaluator, such
      person shall be appointed by the Court.

(j)   Claim Forms that are not timely postmarked or
      electronically submitted, as determined by the Settlement
      Administrator, will not be considered for payment, and the
      Settlement Class Members whose Claim Forms are deemed
      untimely will be provided notice thereof.

(k)   For the avoidance of doubt, Avis Budget shall not be


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                    required to fund, and the Settlement Administrator shall
                    not be required to make, any Claim Payments until after
                    the Effective Date.


IX.   ATTORNEYS’ FEES AND COSTS AWARD AND SERVICE
      AWARDS

        39.   Class Counsel’s entitlement, if any, to an Attorneys’ Fees and Costs
              Award and the Plaintiff’s entitlement, if any, to a Service Award,
              will be determined by the Court. The terms of any such awards,
              fees, costs, or expenses were not negotiated until material
              elements of the Proposed Settlement were resolved and the terms
              of this Proposed Settlement are not conditioned upon a
              maximum or minimum Attorneys’ Fees and Costs Award or
              Service Award, except as explicitly stated herein.

        40.   Class Counsel will file a motion with the Court prior to the
              Fairness Hearing requesting an award of attorneys’ fees and costs
              payable to Class Counsel in a total amount that shall not exceed
              $8,925,000.00 (“Maximum Attorneys’ Fees and Costs Award”),
              and an incentive award to Plaintiff not to exceed $25,000.00
              (“Maximum Service Award”).

        41.   Avis Budget agrees to pay and will not oppose or object to a
              motion requesting an award of attorneys’ fees, costs, and
              expenses to be paid to Class Counsel up to an amount not
              exceeding the Maximum Attorneys’ Fees and Costs Award, and
              Plaintiff and Class Counsel agree they will not seek attorneys’ fees
              and costs of any amount exceeding the Maximum Attorneys’ Fees
              and Costs Award. Avis Budget agrees to pay and will not oppose
              or object to a motion requesting a Service Award to the Plaintiff
              in an amount not exceeding the Maximum Service Award and
              Plaintiff agrees not to seek a service award in an amount
              exceeding the Maximum Service Award. Avis Budget agrees to
              pay the Attorneys’ Fees and Costs and Service Awards or any
              lesser amount the Court may award. Plaintiff and Class Counsel
              will not seek to enforce or recover any Attorneys’ Fees and Costs
              Award in excess of the Maximum Attorneys’ Fees and Costs
              Award, or any Service Award in excess of the Maximum Service
              Award.

        42.   Any Attorneys’ Fees and Costs Award and Service Award made by


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             the Court must be paid by Avis Budget to Class Counsel (on the
             terms set forth above) no later than fourteen (14) days after the
             later of the Effective Date or, if issued in a separate order, a final
             Order approving or awarding the Attorneys’ Fees and Costs
             Award and Service Award meaning the Order is a final,
             appealable judgment and either (i) no appeal has been taken as of
             the date on which all times to appeal therefrom have expired, or
             (ii) an appeal or other review proceeding of the Order having been
             commenced, such appeal or other review is finally concluded and
             no longer is subject to review by any court, whether by appeal,
             petitions for rehearing or reargument, petitions for rehearing en
             banc, petitions for writ of certiorari, or otherwise, and such
             appeal or other review has been fully and finally resolved in such
             manner that affirms the Order.

       43.   Class Counsel will file a Motion for Attorneys’ Fees and Costs and
             Service Award no later than thirty (30) days prior to the deadline
             for Settlement Class Members to submit objections, and a copy of
             the Motion will be posted on the Settlement Website.

X.   FINAL APPROVAL OF THE PROPOSED SETTLEMENT

       44.   No later than fifteen (15) days prior to the Fairness Hearing, which
             will be at least fifteen (15) days after the deadline to submit
             objections, Class Counsel will file a motion seeking the Court’s
             final approval of the Proposed Settlement at the Fairness Hearing
             to be held at a time, date, and location as set by the Court and that
             will be stated in the Notice. The Motion shall request, at minimum,
             the Court to enter a Final Order and Judgment that:

             (a)   finds the Court has personal jurisdiction over all
                   Settlement Class Members and subject matter jurisdiction
                   to approve this Agreement and all Exhibits thereto;
             (b)   gives final approval to the Proposed Settlement and directs
                   the Parties and counsel to comply with and consummate
                   the terms of the Agreement;

             (c)   finds that Class Counsel and Plaintiff adequately
                   represented the Settlement Class;

             (d)   finds that the terms of this Agreement are fair, reasonable,
                   and adequate to the Settlement Class Members;


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            (e)    finds that the Notice set forth in this Agreement (i)
                   constituted the best practicable notice under the
                   circumstances; (ii) was reasonably calculated to apprise
                   potential Settlement Class Members of the pendency of the
                   Action, their right to object to the Proposed Settlement,
                   and to appear at the Fairness Hearing; and (iii) constituted
                   due, adequate, and sufficient process and notice to all
                   Persons entitled to receive notice;

            (f)    finds that the Class Action Fairness Act Notice provided by
                   the Settlement Administrator on behalf of Avis Budget
                   complied with 28 U.S.C. § 1715(b);

            (g)    finds that the Opt-Out List is a complete list of all Class
                   Members who timely requested exclusion after previous
                   Notices and are thus not Settlement Class Members and,
                   accordingly, are not bound by the Final Order and
                   Judgment, but Class Members will have no further
                   opportunities to exclude themselves or “opt out” from the
                   Class;

            (h)    provides that the Plaintiff and all Settlement Class
                   Members, regardless of whether they have submitted a
                   Claim Form or Electronic Claim Form, and regardless of
                   whether they have received actual notice of the Proposed
                   Settlement, have conclusively compromised, settled,
                   discharged, and released all Released Claims against
                   Defendants and the Released Persons, and are bound by
                   the provisions of this Agreement;

            (i)    dismisses all claims in the Action on the merits and with
                   prejudice, and without fees or costs except as provided
                   herein, and entering final judgment thereon;

            (j)    determines the amount of the Attorneys’ Fees Award to
                   Class Counsel, and the Service Award to the Plaintiff; and

            (k)   appoints Angeion as the Settlement Administrator.

XI.   OBJECTIONS




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45.   All Settlement Class Members shall be bound by this Agreement,
      and this action shall be dismissed with prejudice and all
      Settlement Class Members Released Claims shall be released as
      provided for herein.

46.   Settlement Class Members may object to the Proposed
      Settlement. Settlement Class Members who choose to object to
      the Proposed Settlement must file written notices of intent to
      object. Any Settlement Class Member who timely files an
      objection in compliance with this paragraph may appear at the
      Fairness Hearing, in person or by counsel, and be heard to the
      extent and only if permitted by the Court.
47.   To be timely, the objection or motion to intervene must be
      postmarked and mailed to the Settlement Administrator, and
      filed with the Court, no later than sixty (60) days after the Notice
      Date.

48.   The right to object to the Proposed Settlement or to intervene in
      the Action must be exercised individually by a Settlement Class
      Member or his or her attorney, and not as a member of a group,
      class, or subclass.

49.   To be effective, a notice of intent to object to the Proposed
      Settlement must:

      (a)   Include the name of the case and case number;

      (b)   Provide the name, address, telephone number, and
            signature of the Settlement Class Member filing the
            objection;

      (c)   Indicate the specific reasons why the Settlement Class
            Member objects to the Proposed Settlement;

      (d)   Contain the name, address, bar number, and telephone
            number of the objecting Settlement Class Member’s
            counsel, if any, and any such attorney must comply with all
            applicable rules of the Court; and

      (e)   State whether the objecting Settlement Class Member
            intends to appear at the Fairness Hearing, either in person
            or through counsel.



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         50.   In addition, a notice of intent to object must contain the following
               information, if the Settlement Class Member or his or her
               attorney requests permission to speak at the Fairness Hearing:

               (a)   A detailed statement of the legal and factual basis for each
                     objection;

               (b)   A list of any and all witnesses the Settlement Class Member
                     may seek to call at the Fairness Hearing (subject to
                     applicable rules of procedure and evidence and at the
                     discretion of the Court), with the address of each witness
                     and a summary of his or her proposed testimony;
               (c)   A list of any legal authority the Settlement Class Member
                     will present at the Fairness Hearing; and

               (d)   Documentary proof of membership in the Settlement Class.

         51.   Any Settlement Class Member who does not file a timely notice of
               intent to object waives the right to object or to be heard at the
               Fairness Hearing and will be barred from making any objection
               to the Proposed Settlement. To the extent any Settlement Class
               Member objects to the Proposed Settlement, and such objection
               is overruled in whole or in part, such Settlement Class Member
               will be bound by the Final Order and Judgment of the Court.

         52.   The Settlement Administrator shall provide Avis Budget and
               Class Counsel a copy of each notice of intent to object received by
               the Settlement Administrator.

XII.   DENIAL OF LIABILITY

         53.   Avis Budget maintains it acted in accordance with the governing
               laws and regulations of the State of Florida and abided by the
               terms of its rental contracts and Florida law. Avis Budget
               nonetheless has concluded that it is in its best interests that the
               Action be settled on the terms and conditions set forth in this
               Agreement. Avis Budget reached this conclusion after
               considering the factual and legal issues in the Action, the
               substantial benefits of a final resolution of the Action, and the
               expense that would be necessary to defend the Action through
               judgment, appeal, and any subsequent proceedings that may


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                occur.

        54.     Avis Budget believes that it stands a reasonable chance of success
                in any appeal as to the merits of this case and as to the
                certification of the Class. Avis Budget maintains that its defenses
                to summary judgment on liability, its position at trial as to
                damages, as well as its position as to class certification, are
                meritorious. Because of the costs, resources, and time that would
                be incurred, Avis Budget asserts that it would not have settled this
                Action except on a claims-made basis.

        55.     As a result of the foregoing, Avis Budget enters into this
                Agreement without admitting, conceding, or acknowledging any
                fault, liability, or wrongdoing of any kind. This Agreement shall
                not be construed as an admission or concession of the truth of any
                of the allegations in the Action, or of any liability, fault, or
                wrongdoing of any kind. The terms of this Agreement, including
                the claims-made nature of the Agreement, are material to Avis
                Budget’s decision to settle this Action notwithstanding its belief
                that its defenses are meritorious and its chances of success at trial
                and on appeal are significant.

XIII.         RELEASE


        56.     Upon the Effective Date of the Settlement, the Releasing Persons
                shall automatically be deemed to have fully and irrevocably
                released and forever discharged all Released Persons from all
                Released Claims.


XIV. DISMISSAL OF ACTION

        57.     Upon entry of the Final Order and Judgment, the Action will be
                dismissed with prejudice as to Avis Budget, the Plaintiff, and all
                Settlement Class Members, and will release all Released Persons
                from Released Claims. It is the intent of the Parties to this
                Settlement Agreement that dismissal of the claims with prejudice
                and release of the claims shall have the res judicata effect of
                dismissal and release of those claims expressly identified herein as
                Released Claims. It is the intent of the parties that this Settlement
                Agreement and lawsuit dismissal will not operate as a bar to any
                Class Member from pursuing any claim that is not a Released


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              Claim.

XV.   RETENTION OF RECORDS

        58.   The Settlement Administrator, Class Counsel, and Avis Budget
              shall retain copies or images of all returned Notices, Claim Forms,
              Electronic Claim Forms (and/or data resulting therefrom) and
              correspondence relating thereto, for a period of up to two (2)
              years after the Effective Date. After this time, upon written
              request, Class Counsel shall destroy any documentary records in
              their possession.

XVI. MISCELLANEOUS PROVISIONS

        59.   Each Party to this Agreement warrants that he, she, or it is fully
              authorized to enter into this Agreement, and is acting upon his,
              her, or its independent judgment and upon the advice of his, her,
              or its counsel and not in reliance upon any warranty or
              representation, express or implied, of any nature or kind by any
              other party, other than the warranties and representations
              expressly made in this Agreement.

        60.   The Parties and undersigned counsel agree to undertake best
              efforts to effectuate this Agreement and the terms of the Proposed
              Settlement, including taking all steps and efforts contemplated by
              this Agreement, and any other reasonable steps and efforts which
              may become necessary by order of the Court or otherwise.

        61.   The headings and captions contained in this Agreement are for
              reference purposes only and in no way define, extend, limit,
              describe, or affect the scope, intent, meaning, or interpretation of
              this Agreement.

        62.   Unless otherwise noted, all references to “days” in this Agreement
              shall be to calendar days. In the event any date or deadline set
              forth in this Agreement falls on a weekend or federal or state legal
              holiday, such date or deadline shall be on the first business day
              thereafter.

        63.   Except as otherwise provided in a written amendment executed by
              the Parties or their counsel, this Agreement contains the entire
              agreement of the Parties hereto and supersedes any prior


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      agreements or understandings between them. The Parties further
      agree that this Agreement contains the entire understanding
      between the parties with respect to the transaction contemplated
      herein, that there is no representation, agreement or obligation
      regarding the settlement which is not expressly set forth in this
      Agreement, and that no representation, inducement, promise, or
      agreement not expressly set forth in the text of this Agreement
      shall be of any force or effect. All terms of this Agreement shall
      be construed as if drafted by all parties hereto. The terms of this
      Agreement are and shall be binding upon each of the Parties and
      their agents, attorneys, employees, successors, and assigns, and
      upon all other Persons claiming any interest in the subject matter
      hereof through any of the parties hereto, including any
      Settlement Class Member.

64.   This Agreement may be amended or modified only by a written
      instrument signed by all Parties.

65.   This Agreement shall be subject to, governed by, construed, and
      enforced pursuant to the laws of the State of Florida, without
      regard to principles of conflicts of law.

66.   The exhibits to this Agreement are integral parts of the settlement
      and are hereby incorporated and made parts of this Agreement.

67.   To the extent permitted by law, this Agreement may be pleaded
      as a full and complete defense to any action, suit, or other
      proceeding which may be instituted, prosecuted, or attempted in
      breach of this Agreement.

68.   This Agreement shall be deemed to have been executed upon the
      last date of execution by all the undersigned Parties and/or
      counsel.

69.   Class Counsel agree that representations, encouragements,
      solicitations, or other assistance to any Person seeking to litigate
      with Released Persons over any of the Released Claims in this
      matter could place Class Counsel in a conflict of interest with the
      Settlement Class. Accordingly, Class Counsel and their respective
      firms agree not to represent, encourage, solicit, or assist any
      Person in litigating with Released Persons over any Released
      Claims. Nothing in this paragraph shall preclude or prevent Class
      Counsel from answering inquiries from any potential Settlement


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      Class Member or assisting Settlement Class Members with
      submitting a valid and timely claim.

70.   Avis Budget agrees that any assistance, encouragement, or
      solicitation by Avis Budget to any Settlement Class Member or
      any representative or attorney for Settlement Class Members to
      object to any aspect of the terms set forth herein, material or
      otherwise, including an Attorneys’ Fees and Costs Award and/or
      Service Award, will constitute a material breach of this
      Agreement and operate to render the Agreement voidable.

71.   The confidentiality of all Confidential Information shall be
      protected from disclosure by Class Counsel and the Plaintiffs to
      any Persons other than the Settlement Administrator, the Neutral
      Evaluator and any Person the Court orders be allowed to access
      Confidential Information.

72.   The Parties agree that Class Counsel or anyone associated with
      Class Counsel’s firms shall not use of any of the Confidential
      Information in any future litigation, whether pending or future,
      unless independently obtained through discovery or other
      procedures.

73.   The Parties agree that Class Counsel or anyone associated with
      Class Counsel’s firms shall not issue a press release related to this
      Settlement Agreement or discuss any aspect of this Agreement
      with media. This does not prevent Class Counsel from posting
      about or discussing this Settlement Agreement on their firm
      websites.

74.   The Court shall retain jurisdiction with respect to implementation
      and enforcement of the terms of this Settlement Agreement, and
      all parties submit to the jurisdiction of the Court for purposes of
      implementing and enforcing the settlement embodied herein.

75.   This Settlement Agreement is deemed to have been prepared by
      counsel for all Parties, as a result of arms’ length negotiations
      among the Parties with the aid of neutral mediators and third
      parties, including two Magistrate Judges in the United States
      District Court for the Middle District of Florida. Whereas all
      Parties have contributed substantially and materially to the
      preparation of this Settlement Agreement, it shall not be construed
      more strictly against one Party than another.



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        76.   The Parties may terminate this Agreement within twenty (20) days
              after notice of an occurrence as set forth below, by providing
              written notice of termination where (a) the Court or any appellate
              court(s) rejects, modifies or denies approval of any material
              portion of this Settlement except that rejection, modification, or
              disapproval of the Attorneys’ Fees and Costs Award and/or Service
              Award does not allow Plaintiff the right to terminate this
              Agreement, or (b) any financial obligation is imposed on Avis
              Budget in addition to and/or greater than those accepted by Avis
              Budget in this Agreement except that if the Court awards
              attorneys’ fees and costs in an amount greater than the Maximum
              Attorneys’ Fees and Costs Award, this would not allow Avis Budget
              to terminate the Agreement unless Class Counsel seeks to enforce
              or recover an amount in excess of the Maximum Attorneys’ Fees
              and Costs Award from Avis Budget.

        77.   This Agreement may be amended or modified only by a written
              instrument signed by all Parties. Amendments and modifications
              may be made without additional notice to the potential Settlement
              Class Members unless such notice is required by the Court. The
              terms of this Agreement, including the claims-made structure, are
              material terms.

      IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
executed by themselves or by their duly authorized representatives:


For Plaintiff and Settlement Class:         For Defendant:

/s/ Jake Phillips                          /s/ Bill Donovan
Jacob Phillips, Esq.                       William P. Donovan, Jr. (pro hac vice)
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                                                                      EXHIBIT A
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clynch@hunterlynchlaw.com             Philip E. Glatzer, Esq.
lmartinez@hunterlynchlaw.com          MARLOW ADLER ABRAMS
                                      NEWMAN & LEWIS
Counsel for Plaintiff, Heather        4000 Ponce de Leon Blvd., Suite 570
Venerus & the Class                   Coral Gables, Florida 33146
                                      E-mail: pglatzer@marlowadler.com

                                      Counsel for Defendants
                                      Avis Budget Car Rental, LLC
                                      and Budget Rent A Car System,
                                      Inc.




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EXHIBIT 1
                IN THE UNITED STATES DISTRICT COURT
                 IN THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

                        CASE NO. 6:13-CV-921-CEM-GJK

HEATHER VENERUS, individually
and on behalf of all others similarly situated,

       Plaintiff,

AVIS BUDGET CAR RENTAL, LLC
and BUDGET RENT-A-CAR SYSTEM, INC.,

       Defendants.


           PROPOSED ORDER PRELIMINARILY APPROVING
                      CLASS SETTLEMENT

      WHEREAS Plaintiff        Heather    Venerus, individually   and as    Class

Representative on behalf of the Settlement Class, and Defendants Avis Budget Car

Rentals, LLC and Budget Rent a Car System, Inc. (collectively, “Avis Budget”),

acting by and through their respective counsel, have agreed, subject to Court

approval, to settle this Action upon the terms and conditions stated in the Class

Action Settlement Agreement filed with the Court on January 10, 2022 (the

“Agreement”);

      NOW, THEREFORE, based upon the Agreement, all of the files, records, and

proceedings herein, statements of counsel, and it appearing to the Court that a

hearing should be held to determine whether the Proposed Settlement described

in the Agreement should be finally approved as fair, reasonable, and adequate;




                                                                     EXHIBIT 1
   IT IS HEREBY ORDERED THAT:

1. The Agreement (including Exhibits) is hereby incorporated by reference in

   this Order, and all terms defined in the Agreement will have the same

   meanings in this Order.

2. This Court possesses jurisdiction over the subject matter of this Action and

   over all Parties to this Action, including Plaintiff and all Settlement Class

   Members.

3. The Court finds that the negotiations leading to the Agreement occurred at

   arm’s length, there was extensive and sufficient discovery in this case prior

   to settlement such that the Parties had a well-informed basis through which

   to evaluate potential settlement terms, and the proponents of the settlement

   are experienced in similar class action and complex litigation. The Court

   preliminarily approves the Agreement and finds that the Proposed

   Settlement is fair, reasonable, and adequate, and thus warrants providing

   notice to the Settlement Class. Such finding is not to be deemed to constitute

   admission by Avis Budget of liability or fault or a resolution or determination

   of the validity of any claims, defenses, or allegations.

4. In exchange for the mutual promises and covenants set forth in the

   Agreement, and otherwise as set forth in the Agreement, Avis Budget has

   agreed to make the Total Settlement Amount of up to $33,956,613.00

   available for settlement of all Valid Claims in this claims-made settlement,

   Administration Costs (including the costs of implementing and effectuating


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   class Notice and Claim Payments), attorneys’ fees and costs/expenses of

   litigation, any Service Award to the Plaintiff, all of which are subject to Court

   approval. The Agreement provides that in no event shall Avis Budget be

   obligated to pay more than the Total Settlement Amount.

5. The Agreement shall not be construed as an admission by the Released

   Persons of the truth of any of the allegations or claims made in the Action,

   nor of any liability, fault, or wrongdoing on the part of the Released Persons.

6. This Court certified this case for class treatment, see Doc. 370, subject to

   subsequent alteration of the class definition to limit the Class to renters

   whose vehicle rental occurred prior to January 1, 2016, see Doc. 397. The

   class certified by the Court is as follows:

   All individuals who (1) rented an Avis or Budget vehicle in the State of
   Florida after June 12, 2008, and before January 1, 2016, pursuant to a
   prepaid voucher, and (2) whose Rental Receipt contained the notation “SLI
   .00/Day Accepted” or “ALI .00/Day Accepted.

   Excluded from the Class are all such renters who have been involved in
   accidents and who have outstanding claims for liability or
   uninsured/underinsured motorist coverage, as well as all such renters
   whose liability or uninsured/underinsured motorist claims have been paid
   by Defendants.

   The Parties’ Settlement Class is identical to the Class certified by this Court,

   except that it explicitly excludes those who requested to opt out after either

   of the previous Notices that were sent pursuant to this Court’s class

   certification Orders. See Docs. 370 and 149.          Also excluded from the

   Settlement Class are (1) the trial judge presiding over this case; (2)


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   Defendants, as well as any parent, subsidiary, affiliate, or control person of

   Defendants, and the officers, directors, agents, servants or employees of

   Defendants; (3) any of the Released Persons; (4) the immediate family of

   any such person(s); (5) as noted above, any Settlement Class Member who

   has timely opted out of or requested exclusion from the Settlement after

   either of the previous Notices and opportunity to opt out were provided; and

   (6) Class Counsel, their employees and agents, and their immediately family.

7. For purposes of determining whether the terms of the Proposed Settlement

   should be finally approved as fair, reasonable, and adequate, the Court

   reaffirms its findings in its certification Order, Doc. 370, and agrees it is

   sensible, for clarity’s sake, to explicitly exclude those individuals who have

   previously timely requested to opt out of the Class. Those individuals shall

   be identified in the Opt-out List filed by the Settlement Administrator in

   advance of the Fairness Hearing, which will be incorporated in any Final

   Judgment or Order entered by this Court.

8. Avis Budget maintains all defenses to certification, including on appeal, and

   this Order shall not be used as evidence concerning whether a litigation class

   should have been certified for class treatment should this Settlement not be

   finally approved and should Avis Budget thereafter appeal this Court’s Order

   on class certification.

9. The Parties have prepared the Mail Notice Form, E-Mail Notice Form,

   Longform Notice, Claim Form, Electronic Claim Form (including blank


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   form), and Payment Option form, which have been submitted to the Court

   as Exhibits 2 through 7 to the Agreement. The Court carefully reviewed and

   hereby approves Exhibits 2 through 7, including as further described in the

   Agreement, unless otherwise modified by agreement of the Parties and, if

   necessary, approval by the Court.

10. The Court directs that the Notices and Claim Forms be sent to the Persons

   described and as set forth in the Agreement, including the procedures set

   forth for Notices that are returned as undelivered or due to an incorrect

   current email or mailing address. The Court finds that the process set forth

   for Claim Payments in the Agreement is approved and satisfies Rule 23 of

   the Federal Rules of Civil Procedure and due process requirements.

11. To be timely, Claim Forms must be postmarked on or before the Claims

   Submission Deadline, which is 150 days after the Notice Date. Any Claim

   Form postmarked after the Claims Submission Deadline shall be deemed

   untimely. The Electronic Claim Form must be submitted electronically on or

   before 11:59 p.m. on the date of the Claims Submission Deadline, after which

   the Settlement Administrator shall deactivate the Electronic Claim Form.

12. Angeion is preliminarily appointed as the Settlement Administrator. In

   addition to issuing the Notice as set forth above, the Settlement

   Administrator shall establish a website as described in the Agreement, and

   upload thereto the Agreement, Notice forms, Claim forms, including the

   Electronic Claim Form, Preliminary Approval Order, answers to frequently


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  asked questions, the motion for attorneys’ fees and costs (upon filing), and

  other information agreed to by the Parties. The website shall be maintained

  for at least 180 days after the Claims Submission Deadline. The Settlement

  Administrator shall also maintain an IVR telephone system containing

  recorded answers to frequently asked questions and which directs

  Settlement Class Member’s to Class Counsel for any further questions and

  provides Class Counsel’s contact information.

13. The Class Action Fairness Act Notice to be made by the Settlement

  Administrator, as set forth in the Agreement, is in full compliance with 28

  U.S.C. § 1715(b).

14. The Court preliminarily finds that the notice provided to potential

  Settlement Class Members (i) is the best practicable notice under the

  circumstances and satisfies Rule 23 of the Federal Rules of Civil Procedure

  and due process requirements; (ii) is reasonably calculated to apprise

  Settlement Class Members of the pendency of the Action and of their right

  to object to the Proposed Settlement; and (iii) is reasonable and constitutes

  due, adequate, and sufficient notice to all Persons entitled to receive notice.

  See Fed. R. Civ. P. 23(c)(2).

15. A class action may not be settled, dismissed, or otherwise compromised

  without the district court’s approval. Fed. R. Civ. P. 23(e). In analyzing

  whether to preliminarily approve a class action settlement, courts must

  ensure that, as a preliminary matter, the terms of the settlement are not


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   clearly deficient based on, inter alia, the factors prescribed by the Eleventh

   Circuit Court of Appeals. See Leverso v. Southtrust Bank, 18 F.3d 1527, 1530

   n. 6 (11th Cir. 1994) (outlining six factors). These factors, however, are

   “neither determinative nor exhaustive, and the court may consider other

   relevant factors based on the particular nuances of the case and the

   settlement proposed.” Palmer v. Dynamic Recovery Solutions, LLC, No:

   6:15-cv-59-Orl-40KRS, 2016 U.S. Dist. LEXIS 59229 (M.D. Fla. May 4,

   2016) (citations omitted).

16. Without foreshadowing its analysis after the Notice plan is implemented and

   after review of any objections, this Court finds that the Proposed Settlement

   appears fair, reasonable, and adequate to the Settlement Class Members,

   and is not obviously deficient.

17. First, the likelihood of Settlement Class Members’ ultimately achieving

   success after all potential appeals of judgment and class certification is

   uncertain. While the Court previously certified the Class and granted

   summary judgment as to liability in favor of the Class, the claims at issue are

   novel and unsettled and most of the merits-related legal issues addressed by

   the Court were ones of first impression. Avis Budget maintains strong

   arguments as to both liability (on appeal) and damages (at trial and on

   appeal). Indeed, the Court found that the issue of damages presents a triable

   issue, and a jury could very well find that the Class is entitled to nominal or

   no damages as a result of the breach, particularly given that Plaintiff


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   concedes no Class Member sustained out-of-pocket loss resulting from the

   breach. The Court notes that appellate review of the summary judgment

   Order would be de novo. See Curves, LLC v. Spalding County, 685 F.3d

   1284, 1288 (11th Cir. 2012).

18. Having found that the chances of ultimate success are uncertain, the Court

   turns to the benefits secured by the proposed Settlement Agreement. See

   Cook v. Gov't Emples. Ins. Co., 2020 U.S. Dist. LEXIS 111956, at *19-20

   (M.D. Fla. Jun. 22, 2020) (comparing benefits secured by class to the

   potential recovery and risk of non-recovery). The Court preliminarily finds

   that the value of the Settlement is significant. First, the Settlement provides

   for damages of at least $6.51 per rental day, which may be increased to up to

   $7.46 per rental day, plus prejudgment interest. Plaintiff points to evidence

   showing that restitution damages appeared to be $5.00 per day, and the

   most the Class could have recovered in expectation damages is $12.44 per

   day. Moreover, given, as Plaintiff pointed out during this litigation on

   numerous occasions, the black-letter rule of damages for a failure to procure

   an insurance policy is refund of the premiums paid—i.e., restitution

   damages—it is uncertain whether this Court or the Eleventh Circuit would

   have upheld any award by a jury based on expectation damages, nor that a

   jury would have found expectation damages to be $12.44 per rental day.

   Benefits that exceed 100% of restitution damages and that constitute at least




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   52.3% of expectation damages are significant, particularly given the risk of

   no recovery at all.

19. Second, the Notice plan proposed by the Parties and approved by this Court

   is robust and the claims’ submission process is simple, both of which are

   relevant to the fairness of the Agreement. See Braynen v. Nationstar

   Mortg., LLC, No. 14-cv-20726, 2015 U.S. Dist. LEXIS 151744, at *56 (S.D.

   Fla. Nov. 9, 2015) (robust notice plan is evidence that terms of a settlement

   are fair and reasonable); Wilson v. EverBank, No. 14-civ-22264, 2016 U.S.

   Dist. LEXIS 15751, at *32-33 (S.D. Fla. Feb. 3, 2016) (finding that a simple

   and understandable claiming process is evidence of a settlement

   agreement’s fairness and adequacy). The Court agrees with the Parties that

   there is no need to provide a second opportunity to opt out to Class

   Members, all of whom had the opportunity to opt out after Notice of the

   previous certification Orders. Officers for Justice v. Civil Service Com., 688

   F.2d 615, 635 (9th Cir. 1982) (due process does not require a second

   opportunity to opt out at the settlement stage where class members were

   provided the opportunity to opt out after the class was initially certified, and

   noting that settlements providing a second opportunity are rare and

   unusual); In re Healthsouth Corp. Secs. Litig., 334 Fed. Appx. 248, n.12

   (11th Cir. 2009) (whether to require settlement to provide a second opt-out

   opportunity is committed to the sound discretion of the trial court).




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20. The Court has considered the claims-made structure of the Settlement, and

   this structure does not undermine this Court’s preliminary finding that the

   terms of the Proposed Settlement are fair, reasonable, and adequate. See

   Hamilton v. SunTrust Mortg. Inc., No.: 13-60749-civ, 2014 U.S. Dist. LEXIS

   154762, at *18 (S.D. Fla. Oct. 24, 2014) (whether settlement is a claims-made

   structure or a direct-pay structure does not impact “fairness, reasonableness,

   or adequacy of proposed settlement.”); Casey v. Citibank, N.A., 2014 U.S.

   Dist. LEXIS 156553, at *6 (N.D. N.Y. Aug. 21, 2014) (“The Court does not

   have the authority to impose a preferred payment structure upon the settling

   parties”). While a “claims-made” structure may result in less individual class

   members receiving payment, it also means that each individual class member

   who submits a valid claim will receive a higher payment (here, class members

   who submit a valid claim would receive a payment of up to, but no greater

   than, $7.46 per rental day, plus prejudgment interest). See Lee v. Ocwen

   Loan Servicing, LLC, 2015 U.S. Dist. LEXIS 121998, at *57 (S.D. Fla. Sep. 14,

   2015); Cook, 2020 U.S. Dist. LEXIS 111956, at *23 (“This Court agrees that

   ‘[n]egotiating for a smaller amount to go to Class Members would, in effect,

   unfairly reward some Class Members for their own indifference at the

   expense of those who would take the minimal step of returning the simple

   Claim Form to receive the larger amount.’”) (citations omitted).

21. This is particularly the case here, given the Class Period goes back thirteen

   years, and in many cases Avis Budget had only a single contact and limited


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   contact info for Class Members. Given the age of the data, it is difficult to see

   how distribution could be effectuated without a claiming process, if only to

   provide or confirm current mailing addresses or other contact information

   whereby payment should be sent.

22. Importantly, the claiming process here is straightforward and simple. Class

   Members are assigned (and will receive) a ClaimantID that provides for a

   prefilled claim formand Class Members need merely attest to or update the

   contact info and confirm they are the person identified on the claim form.

   See generally Cook, 2020 U.S. Dist. LEXIS 111956, at *22 (where “Settlement

   Class Members merely had to sign an attestation confirming the prefilled

   information was correct (including the address) or update the address[,]” the

   claiming process weighed in favor of approval of a settlement). The Court

   also notes that the proposed Agreement provides several options for Class

   Members to select as the nature of payment (physical check, emailed gift

   card, or electronic payment to an account provided by the Class Member) so

   as to make distribution of payment as convenient to Class Members as

   possible.

23.Moreover, Avis Budget made clear they would not have settled the case on a

   direct-pay model, and, assuming an unfavorable (to Avis Budget) jury

   verdict, would have appealed this case to the Eleventh Circuit. See Montoya

   v. PNC Bank, N.A., No. 14-20474-civ, 2016 U.S. Dist. LEXIS 50315, at *49

   (S.D. Fla. Apr. 13, 2016) (noting that claims-made settlement offered the


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                                                                       EXHIBIT 1
   “only real relief” possible because defendants “would not have agreed” to

   direct-pay structure).

24. In sum, given the damages secured, the robust Notice plan, and the simple

   claims’ submission process, this Court preliminarily finds that the terms of

   the Proposed Settlement appear sufficiently fair, reasonable, and adequate

   to provide Notice, provide Class Members the opportunity to object to its

   terms, and schedule a Fairness Hearing to fully analyze the Proposed

   Settlement and determine whether to grant final approval.

25. No later than 10 days before the Fairness Hearing, the Settlement

   Administrator shall file proof of mailing of the Notice, along with the Opt-

   Out List, which shall be a list of all Persons who timely and properly

   requested exclusion from the Class after previous Notice plans were

   effectuated, and an affidavit attesting to the accuracy of the Opt-Out List.

26. Potential Class Members who submitted timely and valid requests for

   exclusion after the previous certification Orders are not members of the

   Settlement Class. Such Persons shall have no rights under the proposed

   Settlement nor share in any distribution of funds, and shall not be bound by

   any Final Order and Judgment approving the proposed Settlement. See In

   re Managed Care Litig., 2008 U.S. Dist. LEXIS 44261, at *32 (S.D. Fla. Jun.

   4, 2008) (class members who opt out of a class are not bound by any

   decisions or rulings concerning the class). Class Members who did not

   submit a timely request for exclusion following the previous certification


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                                                                      EXHIBIT 1
   Orders shall be bound by any Final Order and Judgment, even if they did not

   receive actual notice of this Action, or never submitted a claim pursuant to

   the proposed Settlement. See Juris v. Inamed Corp., 685 F.3d 1294, 1321

   (11th Cir. 2012) (due process does not require actual notice, but rather good-

   faith effort to provide actual notice). If a Final Order and Judgment is

   entered approving the Proposed Settlement, all Settlement Class Members

   shall be deemed to have fully and finally released all Released Persons, as

   defined in the Agreement, from any and all Released Claims, as defined in

   the Agreement.

27. Settlement Class Members may object to the proposed Settlement.

   Settlement Class Members who choose to object must file written notices of

   intent to object or intervene, as set forth in the Agreement and herein.

   Settlement Class Members who timely and properly submit an objection may

   appear at the Fairness Hearing, in person or through counsel, to the extent

   allowed by the Court. The right to object to the proposed Settlement must be

   exercised individually and not as a member of a group.

28. Objections shall be considered timely if postmarked and mailed to the

   Settlement Administrator, and filed with the Court, no later than sixty (60)

   days after the Notice Date.

29. A notice of intent to object to the Proposed Settlement must:

       a. Contain a heading that includes the case name and number;




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                                                                     EXHIBIT 1
       b. Provide the name, address, telephone number, and signature of the

          Settlement Class Member filing the objection;

       c. Indicate the specific reasons why the Settlement Class Member

          objects to the Proposed Settlement;

       d. Contain the name, address, bar number, and telephone number of the

          objecting Settlement Class Member’s counsel, if represented by an

          attorney. If the Settlement Class Member is represented by an

          attorney, he or she must comply with all applicable rules of the Court;

          and

       e. State whether the objecting Settlement Class Member intends to

          appear at the Fairness Hearing, either in person or through counsel.

30. A lack of substantial compliance with these requirements may result in the

   objection not being considered by the Court. See, e.g., Sanchez-Knutson v.

   Ford Motor Co., 2017 U.S. Dist. LEXIS 96560, at *12-13 (S.D. Fla. Jun. 20,

   2017) (objectors must comply with requirements imposed by courts).

31. In addition to the foregoing information, the notice of intent to object should

   contain the following information if the Settlement Class Member or their

   attorney seeks to speak at the Fairness Hearing:

       a. A detailed statement of the legal and factual basis for each objection;

       b. A list of any witnesses whom the Settlement Class Member may seek

          to call at the Fairness Hearing, with the address of each witness and a

          summary of his or her proposed testimony;


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                                                                      EXHIBIT 1
       c. A list of any legal authority the Settlement Class Member will present

            at the Fairness Hearing; and

       d. Documentary proof of membership in the Settlement Class.

32.A lack of substantial compliance with these requirements may result in the

    Court declining to grant permission to the Settlement Class Member or their

    attorney to speak or present evidence or testimony at the Fairness Hearing.

    The Court finds that the procedures for Settlement Class Members to object

    to the Agreement are approved and satisfy Rule 23 of the Federal Rules of

    Civil Procedure and due process requirements.

33.The Settlement Administrator shall rent a post office box for receiving

    objections, notices of intention to appear, and any other settlement-related

    communications, and shall promptly furnish copies of all such documents

    and communications to Class Counsel and Counsel for Avis Budget.

34. The Parties are directed to provide data to the Settlement Administrator

   consistent with the methods and timing set forth in the Agreement to

   facilitate the sending of Notice within the deadlines set forth in the Schedule

   below.

35. The Court will hold a Fairness Hearing on [date] at [time] at [location], as set

   forth in the Schedule below, during which the Court will consider whether

   the proposed Agreement should be finally approved as fair, reasonable, and

   adequate, and whether the Court should enter a Final Order and Judgment

   approving the Proposed Settlement and dismissing this Action on the merits,


                                       15
                                                                       EXHIBIT 1
   with prejudice. The Court will also consider the amount of any Attorneys’

   Fees and Costs Award, and whether to make and the amount of any Service

   Award to the Named Plaintiff.

36. Class Counsel is directed to file any application for attorneys’ fees, costs, and

   service award no later than thirty (30) days prior to the deadline for

   Settlement Class Members to file a Notice of Intent to object to settlement

   agreement. The Settlement Administrator is directed to post any such

   application to the Settlement Website.

37. The Fairness Hearing may be postponed, adjourned, or rescheduled by Court

   Order, with notice to Settlement Class Members via the settlement website

   and the Court’s docket. The Court further reserves the right to enter a Final

   Judgment and dismissing the Action at or after the Final Approval Hearing

   and without further notice to the Settlement Class Members.

38. Based upon the terms of the Agreement, the Court imposes the following

   schedule for implementation of the Notice plan and further proceedings to

   determine whether the Proposed Settlement should be fully and finally

   approved:




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                                                                        EXHIBIT 1
#                 Action                                    Deadline

1   Website Notice Posted by                  Not later than sixty (60) days from
    Settlement Administrator                  today’s date)

2   Deadline for Settlement              Not later than sixty (60) days from
    Administrator to mail out direct e-  today’s date
    mail and mail notice (“Notice Date”)

3   Deadline for Class Counsel to file        No later than thirty (30) days prior
    Motion for Attorneys’ Fees and            to the deadline to file Notice of
    Costs and for any Service Award           Intent to object to agreement (thirty
                                              (30) days after Notice Date)

4   Deadline for submission of Notice of Sixty (60) days after the Notice Date
    Intent to object to agreement

5   Deadline for Settlement Class             One hundred and fifty (150) days
    Members to file claims.                   after the Notice Date


6   Deadline for Class Counsel to file        Fifteen (15) days after the deadline
    their Motion for Final Approval of        to file Notice of Intent to object to
    the Settlement, along with any            agreement (75 days after Notice
    Response(s) to Class Member               Date)
    objections

7   Deadline for Settlement                   No later than ten (10) days prior to
    Administrator to file proof of            the Fairness Hearing
    completion of Notice, along with
    complete and accurate Opt-Out list

8   Fairness Hearing                          Month, Date, Year at Time (which is
                                              no earlier than 30 days after the
                                              deadline to file a Notice of Intent to
                                              object and approximately 150 days
                                              after entry of this Preliminary
                                              Approval Order)




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                                                                         EXHIBIT 1
  39. Upon a showing of good cause, the Court may extend any of the deadlines

     set forth in this Order without further notice to the Settlement Class.

  40. The Court stays all proceedings in this Action until further Order of the Court

     pending Final Approval of the Settlement, except that the Parties may

     conduct such limited proceedings as may be necessary to implement or

     effectuate the Agreement.

IT IS SO ORDERED.

Dated:
                                       Carlos Mendoza
                                       United States District Judge




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                                                                        EXHIBIT 1
EXHIBIT 2
A settlement has been reached in the case Heather Venerus, et al. v. Avis Budget Car
Rental, LLC, et al., Case No. 6:13-cv-921-CEM-GJK. You may have previously received a
Notice informing you that you might be a class member in a class action against Avis
Budget Car Rental, LLC, and Budget Rent A Car Systems, Inc. (together “Avis Budget”).
The Parties in the case have agreed to settle the case.
Why am I getting this Notice? You have been identified as a “Settlement Class Member”
from Avis Budget’s data, because you rented a vehicle from Avis Budget in Florida
pursuant to a prepaid voucher that included $1 million in supplemental third-party liability
coverage, between June 12, 2008, and December 31, 2015. You are receiving this Notice
because the Parties have agreed to settle the case.
What is this lawsuit about? The Settlement resolves a lawsuit claiming that Avis Budget
breached its rental contracts by failing to purchase a $1 million supplemental liability
insurance (“SLI”) policy from ACE American Insurance Co., which the Plaintiff alleged
was required by the rental contract, for individuals who rented a vehicle in Florida pursuant
to a prepaid voucher but were not involved in accidents that resulted in liability or
uninsured/underinsured motorist coverage claims being asserted by or against them in
connection with their rentals.
Settlement Terms. Avis Budget will pay at least $6.51 per rental day, plus prejudgment
interest, to eligible Settlement Class Members who submit a valid claim. For example, if a
Settlement Class Member rented a vehicle for ten (10) days, the claim payment would be
for $60.51, plus applicable prejudgment interest. The average claim payment size, when
including prejudgment interest, is [TBD]. The benefits available to Settlement Class
Members, and the most Avis Budget is obligated to pay, is $33,956,613.00, which includes
settlement of all valid claims of Settlement Class Members, administration costs (including
to implement and effectuate class Notice), attorneys’ fees and costs of up to $8,925,000.00,
any service award to the Plaintiff, all of which is subject to court approval. If there are
unclaimed funds after submission of all claims, the claim payment paid to eligible class
members who submit timely and valid Claims will be increased from $6.51 to up to $7.46
per rental day, plus applicable prejudgment interest. The Motion for Attorneys’ Fees and
Costs and the Service Award will be filed within 30 days of the date this Notice was
delivered and, upon filing, will be posted and can be accessed at www.___.com.
How do I Receive Payment? To receive a payment, you must submit a Claim Form online
at www.___. Claim Forms must be postmarked or submitted online by ___. You can access
a pre-filed Claim Form on-line by entering your Claimant ID, which is [ClaimantID No.].
After you submit a Claim Form, you will be given the option to choose whether to receive
payment in the form of a physical check (if you provide/confirm your current mailing
address), an e-mailed electronic gift card (if you provide/confirm your current email
address), or an electronic payment (if you contact the Settlement Administrator to provide
account information to which you want the payment to be deposited).
Do I have any other options? Unless you file a Claim Form, you will not be eligible to
get a Settlement payment. You can do nothing if you choose, meaning you will not receive
a Settlement payment. You may also object to the Settlement or ask for permission for you
or your own lawyer to appear and speak at the hearing—at your own cost—but you don’t
have to. Objections are due by [MONTH], [DAY], [YEAR]. More details and the full
terms of the Proposed Settlement are available at www.________.com.

                                             1

                                                                                  EXHIBIT 2
                       FRONT OF THE MAILED NOTICE




   COURT ORDERED LEGAL NOTICE      Venerus v. Avis Budget
                                   Class Action Settlement
 If you rented a vehicle a         PO BOX 0000
   from Avis Budget in             City, State, Zip Code
Florida from June 1, 2008
  through December 31,
    2015, pursuant to a
prepaid voucher, you may           Class Member John Doe
 be entitled to a payment.         123 ABC Street
                                   Miami, FL 12345
Complete and submit a form
        online by
  ___________________
  to receive a payment.




                                   2

                                                             EXHIBIT 2
EXHIBIT 3
                                              EMAIL NOTICE

To:
From:
Subject: Venerus v. Avis Budget Settlement-File a Claim

   Avis Budget’s records show you rented a vehicle in Florida between June 12, 2008 and
   December 31, 2015, and you are entitled to a payment from this class action settlement.

                        Claim your payment from the settlement by [Date].

                      A United States District Court authorized this Notice.
                             This is not a solicitation from a lawyer.
                                     You are not being sued.

Go to [insert link to www.[website].com] and enter your Claimant ID, which is [insert ClaimantID], to
                                        claim your payment.

        A settlement has been reached in the case Heather Venerus, et al. v. Avis Budget Car Rental,
LLC, et al., Case No. 6:13-cv-921-CEM-GJK. You have been identified as a potential settlement class
member from Avis Budget’s claims data, because you rented a vehicle from Avis Budget in Florida,
pursuant to a prepaid voucher for a car rental that included $1 million in supplemental third-party liability
coverage, between June 12, 2008, and December 31, 2015.

        You may have previously received a Notice informing you that you might be a class member in a
class action against Avis Budget Car Rentals, LLC and Budget Rent A Car System, Inc. (together “Avis
Budget”). The Parties have agreed to settle the case.

         The Settlement resolves a lawsuit claiming that Avis Budget breached its rental contracts by failing
to purchase a $1 million supplemental liability insurance (“SLI”) policy from ACE American Insurance Co.,
which the Plaintiff alleged was required of Avis Budget by the rental contract, for individuals who rented a
vehicle in Florida pursuant to a prepaid voucher from June 12, 2008, through December 31, 2015 and who
did not have liability or uninsured/underinsured motorist coverage claims asserted by or against them in
connection with their rentals.

        Avis Budget will pay at least $6.51 per rental day, plus prejudgment interest, to eligible Settlement
Class Members who submit a valid claim. For example, if a Settlement Class Member rented a vehicle for
ten (10) days, the claim payment would be for $60.51, plus applicable prejudgment interest. The average
claim payment size, when including prejudgment interest, is TBD. The benefits available to Settlement
Class Members, and the most Avis Budget can pay, is $33,965,613.00, which includes settlement of all
valid claims of Settlement Class Members, settlement administration costs (including the costs of
implementing and effectuating class Notice), attorneys’ fees and costs/expenses of litigation of up to
$8,925,000.00, any service award to the Plaintiff, all of which is subject to court approval.. If there are
unclaimed funds left available after submission of all claims, the claim payment paid to eligible class
members who submit timely and valid Claims will be increased from $6.51 per rental day to up to $7.46 per
rental day, plus applicable prejudgment interest. Any amount in attorneys’ fees and costs and any service
award to the Plaintiff must be approved by the judge. The Motion for Attorneys’ Fees and Costs and Service
Award will be filed on or before 30 days after this email was sent and, upon filing, can be accessed at
www.____.com.

        To be eligible for payment, you must submit a Claim Form online at www.___ , which can be
accessed by clicking the above link, and entering your ClaimantID listed above. Claim Forms must be
submitted by ___. After you submit a claim, you will be given the option to choose whether to receive the
payment in the form of a physical check (if so, you will need to provide or confirm your current address), an




                                                                                             EXHIBIT 3
e-mailed electronic gift card (if so, you will need to provide or confirm your current e-mail address), or
electronic payment (if so, you will need to contact the Settlement Administrator to provide the account
information for the direct deposit).

         Unless you timely file a Claim Form, you will not get a Settlement payment. Additionally, you may
object to the settlement or ask for permission for you or your own lawyer to appear and speak at the
hearing—at your own cost—but you don’t have to. Objections are due by [MONTH], [DAY], [YEAR].
Requirements for submitting a valid objection are fully set forth in the Proposed Settlement and longform
Notice listed on the settlement website, www._______.com.

        More details and the full terms of the Proposed Settlement is available at www.________.com. You
can also contact the Settlement Administrator by emailing [email address] or hear the answers to frequently
asked questions by calling [phone number] and following the prompts. You may also contact class counsel
by emailing firm@normandpllc.com or by calling (407) 603-6031.

Venerus v. Avis Budget, Case No: 6:13-cv-921-CEM-GJK (M.D. Fla.).




                                                                                           EXHIBIT 3
EXHIBIT 4
                                      Claim Form

Name & Address: [PREFILLED]                           CLAIMANT ID: [PREFILLED]

Date of Rental(s): [PREFILLED]                        EMAIL ADDRESS: [PREFILLED]

ADDRESS (only fill out if different from above)
Primary Address


Primary Address continued


City:                                              State:      Zip Code:




EMAIL ADDRESS (only fill out if different from above or not listed above)




ATTESTATION (required): By signing below, I attest that I am the person identified
above, and that, to the best of my knowledge, the information on this Claim Form is true
and correct.


Signature:___________________________ Dated_____________________

Name (please print): _____________________________________________




                                                                            EXHIBIT 4
                                         Blank Claim Form

                                          CLAIM FORM

        To submit a claim, please: (1) provide your full name; (2) provide either the claim
number listed on the rental contract or the year in which your rental(s) occurred (if you rented a
vehicle from Avis Budget in Florida more than one time from 2009-2015, submit all years during
which the rentals occurred); (3) provide your address; (4) sign and date this form by following
the instructions below; and (5) submit the completed form on or before ___.


Name: ___________________________________________________________

Claim Number(s): _____________________________________________
OR
Year(s) of Rental(s): ___________________________________________

Address:       _____________________________________________________

               _____________________________________________________

               _____________________________________________________



By signing below, I attest that I am the person identified above or I am the legally authorized
personal representative, guardian, or trustee of the person identified above, and that, to the best
of my knowledge, the information on this Claim Form is true and correct:


Signature:___________________________ Dated_____________________

Name (please print): _____________________________________________



To be considered, this Claim Form must be submitted on or before ________.




                                                                                       EXHIBIT 4
EXHIBIT 5
                                        CLAIM FORM

    To be considered, this Claim Form must be submitted on or before _______.


Name & Address: [PREFILL]                          CLAIMANT ID:_________ [PREFILL]



Date of Rental(s): [PREFILL]


1. ADDRESS (only fill out if different from above)
Primary Address


Primary Address continued


City:                                                  State:       Zip Code:




2. ATTESTATION (required): By signing below, I attest that I am the person identified
above, and that, to the best of my knowledge, the information on this Claim Form is true and
correct.


Electronic Signature:___________________________ Dated:_________________




                                                                                 EXHIBIT 5
EXHIBIT 6
                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                Venerus, et. al. v. Avis Budget, et al.,
                                 Case No. 6:13-cv-921-CEM-GJK

               IMPORTANT NOTICE OF CLASS ACTION SETTLEMENT

                                 A court authorized this Notice.
                             This is not a solicitation from a lawyer.
                                     You are not being sued.

                         PLEASE READ THIS NOTICE CAREFULLY

A settlement has been reached in the case Heather Venerus, et al. v. Avis Budget Car Rental, LLC,
et al., Case No. 6:13-cv-921-CEM-GJK. This Notice explains: 1) the terms of the Settlement; 2)
who is a member of the Class; 3) how to submit a claim for payment; 4) how to object to the
Settlement; 5) how to get more information about the Settlement.

You may have previously received a Notice in this Action. You are receiving this Notice because
the Parties have now reached a settlement agreement in the case, which entitles Settlement Class
Members to a payment upon submission of a timely claim.

HELP IS AVAILABLE TO ASSIST YOUR UNDERSTANDING OF THIS NOTICE.
Call 1-###-###-#### toll free for more information. You can also contact Class Counsel at the
contact information listed in this Notice.


                                     What is a Class Action?

A class action is a lawsuit in which one or more individuals bring claims on behalf of other persons
or entities. These persons or entities are referred to as a “Class” or “Class Members.” In a certified
class action, the Court resolves certain issues, legal claims, and/or defenses for all Class Members
in a single action, except for those persons or entities who timely request to be excluded from the
Class.

                                What is this Class Action About?

The Settlement resolves a lawsuit claiming that Avis Budget Car Rentals, LLC and Budget Rent
A Car System, Inc. (together, “Avis Budget”) breached its rental contracts by failing to purchase
a $1 million supplemental liability insurance (“SLI”) policy from ACE American Insurance Co.
for individuals who are not United States citizens and who rented a vehicle in Florida pursuant to
a prepaid voucher from June 12, 2008, through December 31, 2015. Plaintiff alleged that Avis
Budget entered rental contracts whereby Avis Budget agreed to purchase a $1 million SLI Policy
from ACE on behalf of Settlement Class Members, and breached the contracts by failing to do so.

                                                   1

                                                                                      EXHIBIT 6
Avis Budget maintains that it complied with the terms of the rental contracts and Florida law and
deny that they acted wrongfully or unlawfully and continue to deny all material allegations.

This case was previously certified as a Class Action. You may have received Notice of the class
certification. You are receiving this Notice because a Settlement of the case has been reached
between the Plaintiffs, acting on behalf of the Class, and Avis Budget.

The district court is conducting a FAIRNESS HEARING on ________________, to decide
whether to grant final approval of the Proposed Settlement.

                                        Settlement Terms

As a part of the settlement, Avis Budget has agreed to:

   1. pay Settlement Class Members who submit valid claims at least $6.51 per rental day, plus
      applicable prejudgment interest, which amounts to available benefits of $33,956,613.00 for
      the Class, for an average claim size of TBD per Settlement Class Member, although the
      actual claim payment for individual Settlement Class Members depends on the length of
      the Settlement Class Member’s rental(s);
   2. if there are unclaimed funds after submission of all valid claims, increase the payments to
      eligible Settlement Class Members who submit timely and valid claims from $6.51 per
      rental day to up to $7.46 per rental day, plus applicable prejudgment interest;
   3. included as part of the $33,956,613.00, pay any attorneys’ fees, attorneys’ costs, and
      incentive awards to the Named Plaintiff and class counsel, if approved by the Court, which
      will not reduce any payment made to Settlement Class Members, unless the Valid Claims,
      administrative costs, attorneys’ fees and costs approved by the Court, and service award
      approved by the Court together total an amount that exceeds $33,956,613.00.

In exchange, Plaintiff and the members of the Class, which does not include anyone who has
previously requested to opt out of the Class after receiving the previous Notice in this Action,
agree to give up any claim they have based on Avis Budget’s alleged failure to procure a $1 million
ACE SLI Policy or based upon Avis Budget’s alleged provision of contractual third-party coverage
or contractual self-insurance. If you are a member of the Class, you can submit a claim to be
eligible for a payment as described herein. You may also, if you wish, object to the terms of the
Settlement, if you comply with the requirements set forth below.

                        How Do I Know if I’m a Member of the Class?

You are a member of the class action (a “Settlement Class Member”) if: (1) you rented a vehicle,
pursuant to a prepaid voucher, from Avis Budget in Florida (2) during the period of June 12, 2008
through December 31, 2015, (3) the prepaid voucher included $1 million in supplemental third-
party liability insurance, and (4) neither you nor a third party submitted a claim following a motor
vehicle accident in connection with your rental. You received this Notice because Avis Budget’s
records indicate you are a member of the Class. The full class definition is as follows:




                                                 2

                                                                                     EXHIBIT 6
   All individuals who (1) rented an Avis or Budget vehicle in the State of Florida after June 12,
   2008 and before January 1, 2016, pursuant to a prepaid voucher, and (2) whose Rental Receipt
   contained the notation “SLI .00/Day Accepted” or “ALI .00/Day Accepted.

   Excluded from the Class are all such renters who have been involved in accidents and who
   have outstanding claims for liability or uninsured/underinsured motorist coverage, as well as
   all such renters whose liability or uninsured/underinsured motorist claims have been paid by
   Defendants.


Also excluded from the Class is anyone who previously requested to opt out of (i.e., to not be a
part of) the Class after receiving the previous Notices that were sent out in this case. If you
previously requested to opt out of the Class, you are not part of the Class, you are not eligible to
submit a Claim for payment, and you do not need to request to opt out of the Class again.


                       If I Am a Class Member, What Are My Options?

If you are a Class Member, you have three options.

Option 1: Submit a Claim Form for Payment.

You may submit a Claim Form for payment of at least $6.51 per rental day, plus applicable
prejudgment interest, and up to $7.46 per rental day, plus applicable prejudgment interest. The
total benefits available to Settlement Class Members, if all Settlement Class Members submit
timely claims, is $33,956,613.00. If you received a Notice in the mail or by e-mail, the Notice
included your ClaimantID and linked or directed you to the settlement website where you can
access a pre-filled Claim Form by entering your ClaimantID. You can call NUMBER or visit
www._____________.com and request that the Settlement Administrator send you a prefilled
Claim Form by providing your ClaimantID listed in the mailed or e-mailed Notice(or a blank form
that you will need to fill out if you do not have your ClaimantID).

You can submit a Claim Form online by visiting www._____________.com, clicking the MAKE
A CLAIM button, and following the steps outlined for you. You will need a ClaimantID, which
was included in the Mailed and/or Emailed Notice. Otherwise, to submit a blank Claim Form, you
will need to input your full name and current mailing address, as well as either the year(s) during
which your rental(s) occurred, or the rental agreement number(s) listed on your rental contract(s).
The rental agreement number is the nine digit number following the notation “RA” on your rental
receipt.

When calculated as $6.51 per rental day, plus prejudgment interest, the average Claim Payment
size is approximately TBD. However, the actual amount to which Settlement Class Members who
submit valid claims will be entitled depends on the length of the rental. When calculated as $7.46
per rental day, plus prejudgment interest, the average Claim Payment size is approximately TBD.
The most Avis Budget is obligated to pay to Settlement Class Member is $33,956,613.00, which
includes settlement of all valid claims of Settlement Class Members, settlement administration
costs (including the costs of implementing and effectuating class Notice), attorneys’ fees and
                                                 3

                                                                                     EXHIBIT 6
attorney’s costs/expenses of litigation of up to $8,925,000.00, and any service award to the
Plaintiff, all of which is subject to court approval. If, after submission of all timely, valid claims,
unclaimed funds remain, the claim payment paid to eligible class members who submit timely and
valid Claims will be increased from $6.51 per rental day to up to $7.46 per rental day, plus
applicable prejudgment interest. The amount between the minimum amount ($6.51 per rental day,
plus prejudgment interest) and the maximum amount ($7.46 per rental day, plus prejudgment
interest) that Settlement Class Members will receive will depend on the amount of unclaimed
funds.

If you submit a Claim Form online, you will also be asked to identify the method by which your
Claim Payment will be issued (assuming your Claim is determined to be valid). Your options are:
(1) a physical check mailed to your current address (if you choose this option, you will need to
confirm the address listed remains your current address, update the address, or enter your current
address if blank); (2) an electronic gift card sent via e-mail (if you choose this option, you will
need to either confirm the e-mail address listed remains your current e-mail address, update the e-
mail address, or enter your current e-mail address if blank); or (3) electronic payment via Venmo,
PayPal, or similar companies (if you choose this option, you will need to e-mail the Settlement
Administrator to facilitate the process of providing account information for the payment deposit).

If you submit a Claim Form in the mail, it must be postmarked no later than _________. If you
submit an Electronic Claim, you must do so by 11:59 p.m. on _______.


Option 2: Object to the Terms of the Settlement.

The full terms of the Settlement can be found at www._________.com. If you think the terms of
the Settlement are not fair, reasonable, or adequate to the Class Members, you can file a Notice of
Intent to object to the terms of the Settlement.

To properly object to the terms of the Settlement, you must send, with sufficient postage, a Notice
of Intent to object to the terms of the settlement and to appear at the Fairness Hearing (described
below) to the following:

                                Venerus, et. al. v. Avis Budget, et al.
                                             c/o NAME
                                             ADDRESS
                                             ADDRESS

The Notice of Intent must include the following:

   1. The name of the case and case number;

   2. Your name, address, telephone number, and signature;

   3. The specific reasons why you object to the terms of the Proposed Settlement;



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                                                                                       EXHIBIT 6
   4. The name, address, bar number, and telephone number of any attorney who represents you
      related to your intention to object to the terms of the Settlement;

   5. State whether you and/or your attorney intend to appear at the Fairness Hearing and
      whether you and/or your attorney will request permission to address the Court at the
      Fairness Hearing.


If you and/or your attorney intend to request permission to address the Court at the Fairness
Hearing, your Notice of Intent must also include the following:

   1. A detailed statement of the legal and factual basis for each of your objections;

   2. A list of any witness you may seek to call at the Fairness Hearing (subject to applicable
      rules of procedure and evidence and at the discretion of the Court), with the address of each
      witness and a summary of his or her proposed testimony;

   3. A list of any legal authority you may present at the Fairness Hearing; and

   4. Documentary proof of membership in the Settlement Class.

Notices of Intent to object must be postmarked by __________________. Any Notice of Intent
that is not postmarked by the deadline set forth above or which does not comport with the
requirements listed above may waive the right to be heard at the Fairness Hearing.

Option 3. Do Nothing.

You have the right to do nothing. If you do nothing, you release any claim against Avis Budget
related to the claims and allegations in this lawsuit which are part of the Released Claims as defined
by the Settlement Agreement, even if you do not submit a Claim for payment.

                                 Who Is Representing the Class?

The District Court has appointed Heather Venerus (the “Named Plaintiff”) to be the representative
of the Class. The District Court has also appointed the following lawyers as Class Counsel for
those Class Members:

 Edmund Normand, Esq.                                 Christopher J. Lynch
 Jacob Phillips, Esq.                                 Christopher J. Lynch, P.A.
 Normand PLLC                                         6915 Red Road, Suite 208
 3165 McCrory Place, Suite 175                        Coral Gables, Florida 33143
 Orlando, FL 32803                                    Telephone: (305) 443-6200
 Telephone: (407) 603-6031                            Facsimile: (305) 443-6204
 Facsimile: (888) 974-2175                            clynch@hunterlynchlaw.com
 Ed.normand@normandpllc.com                           HunterLynchlaw.com
 Jacob.phillips@normandpllc.com
 NormandPLLC.com

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                                                                                      EXHIBIT 6
These lawyers are experienced in handling class action lawsuits. More information about Class
Counsel is available on their websites above.

Class Counsel will file an application for attorneys’ fees and costs of no more than $8.925 million
dollars, subject to approval by the Court. Avis Budget has agreed to pay Class Counsel that amount
if approved by the Court. You will not be personally responsible for any fees, costs or expenses
incurred by Class Counsel relating to the prosecution of this case. After it is filed, the Motion for
Attorneys’ Fees and Costs will be posted and can be accessed at the settlement website.

Class Counsel will also seek a Service Award to the Plaintiffs in the amount of $25,000, subject
to court approval. The Service Award is designed to reward the Plaintiff for securing the recovery
awarded to members of the Class, and to acknowledge the time spent by the Plaintiffs in sitting for
deposition, providing discovery, participating in the case and mediation, and prosecuting the claim
for the benefit of the Class. In this case, the Plaintiff has been prosecuting this claim for almost
nine years, which has included extensive discovery, depositions, travel, mediations, appeals, and
other time expended. Avis Budget has agreed to pay the Service Award to the Plaintiff up to the
amount of $25,000, if approved by the District Court.

                  What Claim(s) Are Settlement Class Members Releasing?

As a part of the Settlement, Settlement Class Members agree not to sue Avis Budget by asserting
any claim related to allegations that Avis Budget failed to procure a $1 million SLI Policy from a
licensed insurance company, or that Avis Budget improperly provided self-funded contractual
coverage or contractual self-insurance, in connection with a prepaid voucher rental from June 12,
2008 through December 31, 2015. The full terms of the Released Claims and Released Parties can
be found in the Proposed Settlement at www.___________.com.

                        How Do I Find Out More About This Lawsuit?

If you have any questions about the lawsuit or any matter raised in this notice, please call toll-free
at 1-###-###-#### or go to www.____________.com.

This www._____________.com website provides:
      1. An Electronic Claim Form and directions for how to submit;
      2. The full terms of the Settlement;
      3. Information and requirements for submitting a claim, requesting exclusion, or filing a
         Notice of Intent to object to the terms of the Settlement
      4. A copy of the complaints filed by Plaintiffs and other important rulings and orders from
         the District Court during the case prior to Settlement; and
      5. Other general information about the class action.

You also may contact class counsel, whose contact information and websites are provided above.
Please do not contact Avis Budget about this case or proposed Settlement. Avis Budget’s
employees and customer service representatives will likely not have any knowledge about this case
or settlement and will be unable to assist you. If you have further questions, please instead contact
the Settlement Administrator or Class Counsel.

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                                                                                      EXHIBIT 6
Complete copies of the documents filed in this lawsuit that are not under seal may be examined
and copied at any time at the United States District Court, Middle District of Florida, 401 West
Central Boulevard, Orland, FL 32801.

PLEASE DO NOT TELEPHONE OR CONTACT THE DISTRICT COURT OR THE CLERK
OF THE DISTRICT COURT REGARDING THIS NOTICE.

IT IS SO ORDERED, HON. CARLOS MENDOZA, U.S. DISTRICT COURT JUDGE
DATED: _____ ##, 2022




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                                                                                 EXHIBIT 6
EXHIBIT 7
                                  PAYMENT OPTION FORM


If your claim is determined to be valid and timely, you can receive payment in one of the three
options below. Please select the method by which you wish to receive payment, including the
necessary information depending on which option you select. You can only select one option.
OPTION 1: I wish to receive the Claim Payment via physical check, mailed to the following
address: [Pre-filled address associated with ClaimantID, if any]
If you are selecting Option 1, and if the address field above is blank or is not your current mailing
address, please provide the correct mailing address in the field below:
[Blank Field Box]
[Yes/No checkbox]




OPTION 2: I wish to receive the Claim Payment via an electronic VISA gift card, e-mailed to the
following e-mail address: [Pre-filled e-mail address associated with ClaimantID, if any]


If you are selecting Option 2, and if the e-mail address above is blank or is not your current e-mail
address, please provide the correct e-mail address in the field below:
[Blank Field Box]
[Yes/No checkbox]




OPTION 3: I wish to receive the Claim Payment via electronic payment to my account with
PayPal or similar company or e-banking payment. If you are selecting Option 3, the Settlement
Administrator will email you at your email address to ask you for the information needed,
including the account number and type, to facilitate the electronic payment. If the e-mail address
above is blank or is not your current e-mail address, please provide the correct e-mail address in
the field below:
[Blank Field Box]


[Yes/No checkbox]




                                                                                      EXHIBIT 7
[SUBMIT BUTTON]




                  EXHIBIT 7
